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                  UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF MARYLAND
                           NORTHERN DIVISION

 STUDENTS FOR FAIR ADMISSIONS,
                           Plaintiff,
 v.
                                                             No. 1:23-cv-02699
 THE UNITED STATES NAVAL
 ACADEMY, et. al,
                                    Defendants.

                       JOINT PROPOSED PRETRIAL ORDER

       Per Local Rule 106, the parties submit the following proposed pretrial order.

I.     A brief statement of facts that each plaintiff proposes to prove in support of that
       plaintiff’s claims, together with a listing of the separate legal theories relied
       upon in support of each claim.

       Plaintiff, Students for Fair Admissions, Inc., brought this action to address the U.S.
Naval Academy’s racially discriminatory admissions. SFFA intends to show that USNA’s use
of race does not further any compelling governmental interest and is not narrowly tailored,
thus failing the strict scrutiny review required by the equal-protection component of the Fifth
Amendment. Specifically, SFFA intends to prove the following facts at trial:

       A. Racial Balancing
       USNA admits its goal is to achieve a racially balanced brigade of midshipmen that
matches the racial demographics of the eligible U.S. population, a goal that blatantly violates
settled law. See SFFA v. Harvard, 600 U.S. 181, 223 (2023). USNA’s own documents and sta-
tistical evidence independently confirm that USNA manipulates admissions outcomes in an
attempt to achive its racial balancing goal. The admissions office closely monitors the racial
makeup of the admitted applicant pool as each incoming class takes shape, including through
detailed numerical charts that compare the composition of the current class with those of
previous classes at the same point in the admissions cycle. Everyone in the admissions chain
of command—from the Superintendent to regional admissions staff—is kept abreast of the


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Academy’s progress. If the admissions office believes it is on track to admit too few racial
minorities in general, or too few of a certain racial group in particular, it prioritizes applicants
from those racial groups when filling the remaining seats in the class. It does this through a
variety of methods, including prioritizing racial minorities for appointments to “second va-
cancies” for particular congressional districts and using race as a filtering mechanism when
choosing applicants from the wait list. This transparent regime of racial balancing is a flagrant
violation of the Constitution.

       B. Use of Race as a Stereotype
       The Academy’s entire admissions program rests on racial stereotypes. The Supreme
Court has long held that universities may not operate their admissions programs on the belief
that minority students always (or even consistently) express some characteristic minority view-
point on any issue. But that’s precisely what the Academy does. By connecting “military effec-
tiveness” to the racial mix of particular units, the Academy’s program assumes that there is an
inherent benefit in race qua race—an assumption which rests on the pernicious stereotype
that military officers from one racial demographic can bring something that officers of other
races cannot. For example, the Academy’s attempt to tie the race of its officer corps to suc-
cessful interactions with foreign nationals uses race as a crude proxy for cultural experiences
or awareness. Moreover, by balancing its class to foster trust between the enlisted corps and
its future leaders, the Academy is assuming that—among other stereotypes—some races won’t
respect or follow people who have a different skin color. Such sordid stereotyping has no
legitimate use and is contrary to the core purpose of equal protection. See Harvard, 600 U.S. at
219-20.

       C. Use of Race as a “Negative”
       The Academy’s use of race also thwarts the Constitution’s fundamental command that
an individual’s race may never be used against him. Harvard, 600 U.S. at 218-21. For starters,
the Academy’s admissions program is zero-sum; because there are limited seats for admission
and many candidates compete for those slots, any benefit provided to some applicants of some

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favored races necessarily disadvantages other applicants of the disfavored races. And because
race can be (and often is) a decisive factor for Black, Hispanic, and Asian applicants, it’s an
equally dispositive minus for everyone else. For instance, the Academy expressly prioritizes
racial minorities when admitting applicants from its wait list at the end of each admissions
cycle. Because applicants of certain races go to the front of the line, all other applicants are
relegated to the back based on their skin color.

       D. USNA’s Admissions Program is Not Narrowly Tailored Because it Lacks a
          Defined End Point
       Academy officials cannot identify a general range, much less pinpoint a specific level,
of racial diversity at which point USNA will no longer need to consider applicants’ race. There
is good reason for this failure. Because the Academy relies on racial balancing to achieve (and
preserve) parity between officers, the enlisted, and the citizens they serve, the Academy’s use
of race lacks a logical end point. Indeed, under the Academy’s theory, the only way it can
mirror the demographic composition of the population is by giving preferences to applicants
of certain races and adjusting the scope of those preferences year over year, to ensure the
Academy always shares the diversity of the enlisted ranks and the general population. By tying
its racial composition to the whims of demography, the Academy promises to use race in
perpetuity. And indeed, the Academy is not even adhering to its own illusory standard for
success; the Brigade of Midshipmen has had a greater perecentage of Asian-Americans than
the general population for years, but Academy officials have never even considered altering
the racial preferences they provide to Asian-Americans. Nor have they put a sunset date on
USNA’s race-based admissions. This indefinite use of racial classifications is forbidden by
longstanding Supreme Court precedent.

       E. USNA’s Use of Race Is Not Narrowly Tailored to Achive USNA’s Asserted
          Interests
       USNA has no evidence supporting its asserted connection between the racial compo-
sition of the officer corps and military effectiveness (e.g., unit cohesion and lethality), recruit-
ment, retention, or institutional legitimaticy. Furthermore, it did not even attempt to conduct

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or commission any full-scale studies establishing such a connection before beginning its racial
classification scheme. Indeed, USNA’s racial classifications themselves have no correlation to
the benefits it seeks to achieve. They are incoherent and irrational, and simulatenously over-
broad and underinclusive. By grouping together all Asian applicants, for instance, the Academy
is apparently uninterested in whether South Asian or East Asian midshipmen—who come
from countries as diverse as Japan and Pakistan—are adequately represented in the officer
corps. It is enough for the Academy’s purpose that they are all “Asian.” And the Academy
apparently thinks that a Mexican-American sailor is more likely to follow a white officer of
Spanish descent, just because he checked the box for “Hispanic.” It classifies First-Generation
Americans born in Iraq simply as “white,” even though those applicants would be the most
likely to have knowledge of cultural practices in key regions. The Academy’s use of these ar-
bitrary racial categories cannot survive strict scrutiny.
        But the foregoing notwithstanding, the Academy’s use of race still has little correlation
to its claimed interests. The Academy produces only 16-20 percent of the total new Naval
officers each year, and thus its use of race cannot move the needle on the overall composition
by the officer corps, as it manipulates its own demographics by only a handful of percentage
points—a point its own internal documents recognize. Even if 100% of the officers the Acad-
emy commissioned each year were members of racial minority groups, the percentage of racial
minorities in each new class of officers still would not match the percentage of minorities in
the population at large. Accordingly, the Academy cannot carry its burden of proving that its
use of race is narrowly tailored to furthers any of its allegedly compelling governmental inter-
ests.

        F. Failure to Consider Race-Neutral Alternatives
        Finally, the Academy has not undertaken any good-faith efforts to determine whether
comparable race-neutral programs would work. It has never consulted—and vehemently re-
sisted discovery into—the Coast Guard Academy’s success when the law required it to use
race-blind admissions. Moreover, it has never conducted any modeling to determine the racial

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composition of incoming classes if it stopped considering race. Nor has it engaged in any other
meaningful studies about the feasibility of ceasing its use of race. The Academy’s only attempt
to “evaluate” race-neutral alternatives consists of five “informal” excel spreadsheets generated
by its Dean of Admissions that identified the number of midshipmen in the admitted applicant
pool for the Class of 2026 who were deemed to have faced “hardship or adversity,” spoke
English as a second language, or possessed a few other characteristics that might feature in a
race-neutral admissions plan. The spreadsheets were unaccompanied by any narrative report-
ing and come nowhere close to a bona fide attempt to analyze the effect of race-neutral admis-
sions. SFFA’s experts, on the other hand, will establish that the Academy can and will remain
racially diverse if it stops using race.

II.     A brief statement of facts that each defendant proposes to prove or rely upon as
        a defense thereto, together with a listing of the separate legal theories relied
        upon in support of each affirmative defense.
        Plaintiff’s assertion that the Naval Academy’s limited consideration of race in its ad-

missions process does not further any compelling interest and is not narrowly tailored is belied

by the extensive evidentiary record in this case. The military has, across numerous administra-

tions, repeatedly concluded that a diverse officer corps is critical to its ability to defend our

nation, and the Naval Academy’s admissions policies are directly related to and narrowly tai-

lored to achieve that precise goal. This military judgment—which is supported by research,

the history of race relations in the military, and decades of military experience both in combat

and preparing for combat—is entitled to deference. See, e.g., Gilligan v. Morgan, 413 U.S. 1, 10

(1973); Goldman v. Weinberger, 475 U.S. 503, 507 (1986); Dep’t of Navy v. Egan, 484 U.S. 518, 530

(1988); Austin v. U.S. Navy Seals 1-26, 142 S. Ct. 1301, 1302 (2022) (Kavanaugh, J., concurring);

Roe v. Dep’t of Def., 947 F.3d 207, 219 (4th Cir. 2020).




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       A.      The Military Has a Compelling National Security Interest in a Diverse
               Officer Corps
       In Students for Fair Admissions, Inc. v. Harvard College, 600 U.S. 181 (2023), the Supreme

Court declined to address military service academies’ admissions policies “in light of the[ir]

potentially distinct interests.” Id. at 213 n.4. The military’s interest is indisputably distinct from

the civilian universities at issue in SFFA. Senior military leaders have long recognized that the

nation’s military strength and readiness depend on a pipeline of officers who are racially and

ethnically diverse and have been educated in environments that prepare them to lead increas-

ingly diverse forces. The Naval Academy is an instrumental component in this pipeline. The

Naval Academy prepares midshipmen for war. Naval Academy graduates account for approx-

imately 28% of new Navy and Marine Corps officers in the warfighting communities, and

around 40% of senior naval officers are Naval Academy graduates, including 91% of Chiefs

of Naval Operations to the present day. The evidence will show that the Naval Academy has

only become more instrumental to ensure diversity in the senior ranks over the years as the

Naval Academy’s student body has become more racially and ethnically diverse.

       The military’s judgment is informed by the serious internal racial strife that has risked

mission readiness since the military’s inception. From the Revolutionary War through World

War II, the Navy frequently limited the number of Black Americans able to enlist (and those

allowed to enlist were relegated to segregated units or positions) and the Marine Corps largely

banned Black Americans altogether. This environment contributed to racial conflict during

the “Red Summer” of 1919 and in 1944 at Port Chicago, Mare Island, and Port Hueneme.

       The evidence will show that during the Vietnam War, racial violence erupted first in

the Marine Corps and later in the Navy. Racial violence occurred in bases in Vietnam, the


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United States, and on hundreds of ship and shore installations. Subsequent investigations re-

vealed that a major contributing factor to this climate was the dearth of minority officers in

the chain of command, among other factors related to racial discrimination. In this context,

senior military leaders determined that the scarcity of minority officers created distrust within

the force and helped fuel the racial tensions that critically undermined military readiness.

       The military ultimately concluded that a racially diverse officer corps is vital to national

security for a variety of interdependent reasons. First, a diverse officer corps fosters cohesion

and lethality. Outbreaks of racial violence have not occurred since the Navy and Marine Corps

diversified their officer corps. Witnesses for the Defendants will show that the lack of diversity

risks internal strife, which undermines unit cohesion and jeopardizes mission success. Second,

a racially diverse officer corps facilitates recruitment and retention of top talent. Witnesses for

Defendants will show that building an officer corps that is reflective of the general population

is a key tool in encouraging potential servicemembers to join the military and in retaining them

afterwards, which is especially important given the shrinking portion of Americans eligible for

and interested in military service. The evidence will also show that active-duty members who

perceive their diversity climates as unhealthy, which is experienced most often by minority

servicemembers, are more likely to separate from the military compared to those that identify

their diversity climates as healthy. Third, a racially diverse officer corps bolsters the legitimacy

of the military in the eyes of the nation and the world. Witnesses for the Defendants will

provide concrete evidence regarding the legitimacy benefits that flow from a diverse officer

corps, which decrease the likelihood that the crisis which threatened the military’s legitimacy

in the past reemerges in the future. Fortunately, the perception crisis resulting from racial



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unrest during the Vietnam War era does not plague the military today. The increasing racial

and ethnic diversity in the officer corps is an important reason for today’s much-improved

climate.

       B.       The Naval Academy’s Admissions Process is Narrowly Tailored to Fur-
                ther the Military’s Compelling National Security Interest
       The Naval Academy considers race in admissions in a limited fashion only to further

the military’s distinct operational and strategic interests. As an initial matter, only qualified

candidates may be appointed to the Naval Academy, and race is not a factor in determining

whether a candidate is qualified. Furthermore, even where race may be considered, it is only

considered to the extent it provides context for an individualized, holistic assessment of can-

didates. No candidate is admitted based solely on the basis of his or her race. Candidates are

evaluated with an eye towards the myriad ways in which they might contribute to the Navy or

Marine Corps as future officers—including, for example, their overcoming of adversity, life

experiences, leadership potential, athletic prowess, and academic accomplishments.

       Given the military’s closed promotion system, where it can only develop officers from

within, the evidence will show that the key opportunity the military has to ensure a diverse

officer corps in the Navy and Marine Corps that meets its operational and strategic imperatives

is to have a diverse student body at the Naval Academy. And because the number of qualified

minority candidates—in particular, Black American candidates—is small despite substantial

outreach efforts, the Naval Academy’s need to consider race in a limited fashion to increase

the size of that qualified, diverse applicant pool is all the more critical.

                i. The Naval Academy Does Not Engage in Racial Balancing to
                   Achieve its Aspirational Diversity Goals



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       The Naval Academy seeks to build a racially and ethnically diverse Brigade of Midship-

men that reflects the demographics of the general population. In building diverse incoming

classes, the Naval Academy uses neither floors nor ceilings for particular demographic groups

and does not offer appointments to candidates based solely on their race. The Naval Acad-

emy’s goal to build a diverse Brigade constitutes a permissible goal that is far from a quota.

And, contrary to Plaintiff’s assertions, the Naval Academy does not engage in “racial balanc-

ing.” Indeed, the admissions and enrollment data show substantial fluctuations in the share of

racial groups within each class year after year.

               ii. Race is Used Neither as a Negative Nor as a Stereotype
       Plaintiff erroneously presumes that the Naval Academy’s limited consideration of race

must operate as a “negative” for certain candidates because college admissions are “zero-sum.”

Even if that were true for civilian universities, many offers of appointment to the Naval Acad-

emy are made through a process wholly unlike the admission processes at civilian universities.

Race is not considered at all for these appointments. Regarding the subset of where race could

be considered as a nondeterminative factor, appointment decisions are not made because of

race; instead, race could be considered only to the extent it provides context in an individual-

ized and holistic evaluation of candidates. Moreover, because minorities account for a rela-

tively small number of overall candidates, the Naval Academy’s limited consideration of race

has a relatively small impact on the admissions rate for White candidates.

       The admissions process also does not rely on racial stereotypes. Instead of seeking to

admit diverse candidates on the assumption that they express a particular viewpoint shared by

others of the same background, the Naval Academy seeks to admit diverse candidates so that



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all midshipmen can learn to be effective military leaders and so that the Navy can achieve its

compelling national security interests. The evidence will show that having diverse officers di-

rectly facilitates both recruitment and retention efforts. It also serves as a risk mitigator, by

protecting against the destructive racial tensions that have the potential to harm mission per-

formance as in previous conflicts. The evidence will also show that having an officer corps

reflective of the diversity of the nation promotes both domestic and international legitimacy.

These are not stereotypes. The admissions policies are grounded in professional military judg-

ments, supported by research and experience, that those interests cannot be realized without

a diverse officer corps. That is far from, as Plaintiff puts it, assuming an “inherent benefit in

race qua race.”

              iii. The Naval Academy Does Not Intend to Consider Race as a Factor
                   in its Admission Process Indefinitely
       Plaintiff’s insistence that the Naval Academy must have a defined end point ignores

the national security interest at issue here. The strength and effectiveness of the armed forces

is an enduring requirement with national security implications of the highest order. That is

why no court has ever held that national security has an end date. In any event, the Naval

Academy reviews its admissions process, including the limited consideration of race, annually

and has conducted substantive legal reviews on at least four occasions during the current

Dean’s tenure. Through its periodic review and adjustment of its admissions policies, the Na-

val Academy ensures that race plays no greater role than necessary to achieve its compelling

national security interest. The Naval Academy anticipates that it will no longer have a need to

continue its limited consideration of race in admissions decisions once it achieves and main-

tains the racial diversity of the Brigade at a level generally comparable to the demographics of


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the general population. The fact that the racial demographics of the nation are changing does

not mean that the Naval Academy will consider race indefinitely.

                iv. Race-Neutral Alternatives Are Insufficient to Achieve a Diverse Bri-
                    gade
         Contrary to Plaintiff’s contention that the Naval Academy has failed to consider race-

neutral alternatives, the evidence will show that the Naval Academy’s admissions policies al-

ready incorporate a plethora of race-neutral factors intended to increase racial and ethnic di-

versity. Indeed, over time, the Naval Academy has added more and more race-neutral factors

into its admissions process, while at the same time reducing the role that race plays in the

admissions process. For example, among the factors that the Naval Academy currently con-

siders (and awards points for) in making appointment decisions are overcoming adversity and

hardship, socioeconomic status, first-generation American status, first-generation college sta-

tus, English as a second language, unusual life experiences, significant cultural experiences,

domicile in an underrepresented congressional district, and prior exposure to the military life-

style.

         Additional race-neutral approaches the Naval Academy has implemented or considered

include (but are not limited to): visits to Navy and Marine Corps units and bases to market to

and increase applications from Fleet Sailors and Marines, expanded outreach to minority ap-

plicants via several different exposure programs for high school students and their parents,

marketing to specific underrepresented demographics through an enrollment management

company, advertising efforts through social media, investing resources into increasing appli-

cation initiation and completion rates to broaden the pool of potential candidates for admis-

sion, and focused outreach to underrepresented congressional districts and target cities.


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Although it does not control who receives congressional nominations, the Naval Academy

also routinely educates and encourages Members of Congress to nominate minority applicants.

The Naval Academy has also run informal reports using its admissions database to determine

if it could exclusively rely on variables other than race. But one does not need to conduct a

statistical analysis to see the obvious. Despite the Naval Academy’s substantial efforts to in-

crease the number of minority students over time, including through the use of numerous

race-neutral alternatives, the number of minority students in every class, and in particular Black

American and Hispanic students, falls far short of reflecting the nation’s racial and ethnic

demographics.

III.   Similar statements as to any counterclaim, crossclaim, or third-party claim.
       None.

IV.    Any amendments required of the pleadings
       None.

V.     Any issue in the pleadings that is to be abandoned
       None.

VI.    Stipulations of fact or, if the parties are unable to agree, requested stipulations
       of fact
       The Parties stipulate as follows:

       1.      Students for Fair Admissions is a “nonprofit organization founded in 2014

whose purpose is to defend human and civil rights secured by law, including the right of in-

dividuals to equal protection under the law.” SFFA v. Harvard, 600 U.S. 181, 197 (2023).

       2.      The four students deposed by USNA (known as Members A, B, C, and D) are

members of SFFA.




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VII.    The details of the damages claimed or any other relief sought as of the date of
        the pretrial conference
        SFFA asks the Court to enter judgment in its favor and enter (1) a declaratory judgment

that USNA’s use of race in admissions is unconstitutional under the Fifth Amendment; (2) a

permanent injunction prohibiting the Academy from considering or knowing applicants’ race

when making admissions decisions; and (3) all other relief that SFFA is entitled to, including

but not limited to attorneys’ fees and costs.

        Defendants maintain that Plaintiff’s request for a permanent injunction prohibiting the

Naval Academy from “knowing applicants’ race when making admissions decisions” is incon-

sistent with the explicit recognition in Harvard that “as all parties agree, nothing in this opinion

should be construed as prohibiting universities from considering an applicant’s discussion of

how race affected his or her life, be it through discrimination, inspiration, or otherwise.” Stu-

dents for Fair Admissions, Inc. v. Harvard College, 600 U.S. 181, 230 (2023).

VIII. A listing of each document or other exhibit, including summaries of other evi-
        dence, other than those expected to be used solely for impeachment, separately
        identifying those which each party expects to offer and those which each party
        may offer if the need arises. The listing shall indicate which exhibits the parties
        agree may be offered in evidence without the usual authentication. This require-
        ment may be met by attaching an exhibit list to the pretrial order
        Pursuant to Federal Rule 26(a)(3) and Local Rule 106, Plaintiff submits the following

exhibit list attached as Appendix A. Plaintiff reserves the right to use any exhibit listed on the

exhibit list provided by Defendants. A document’s presence on Plaintiff’s exhibit list is not a

waiver of objections or any concession that the document is admissible if offered by Defend-

ants.

        Pursuant to Federal Rule 26(a)(3) and Local Rule 106, Defendants submit the following

exhibit list attached as Appendix B. Defendants reserve the right to use any exhibit listed on


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the exhibit list provided by Plaintiff. A document’s presence on Defendants’ exhibit list is not

a waiver of objections or any concession that the document is admissible if offered by Plaintiff.

       The parties do not anticipate making authentication objections to any document at trial,

although Plaintiff has requested additional information about three Rule 1006 summary ex-

hibits identified by Defendants (D207, D208, D209).

       The parties have asserted other objections to some of each side’s exhibits and are work-

ing through those objections to try and resolve them without the Court’s assistance. Plaintiff’s

position is that given the timeframe of the trial and the information set forth in paragraph 2

of the document the Court provided the parties with on August 23, the parties should make

an effort to agree to preadmission of exhibits in advance of trial and avoid the need for a

sponsioring witness for every document admitted. Plaintiff defers of course, to the court’s

preferences on this issue. Defendants defer to the Court’s preference as to whether certain

categories of exhibits should be admitted without sponsoring witneses but respectfully pro-

vides their view that it could be helpful to the Court to have sponsoring witnesses explain the

relevance of exhibits before they are admitted into evidence.

IX.    A list for each party of the name, address, and telephone number of each wit-
       ness, other than those expected to be called solely for impeachment, separately
       identifying those whom the party expects to present and those whom the party
       may call if the need arises.
       Pursuant to Federal Rule 26(a)(3) and Local Rule 106, Plaintiff provides the following

witness list. Plaintiff reserves the right to call any witness on Defendants’ witness list, as well

as other witnesses not listed for purposes of impeachment, rebuttal, or to overcome Defend-

ants’ objections to the admission of any document into evidence.




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       In addition, pursuant to Federal Rule of Civil Procedure 26(a)(3) and Local Rule 106,

Defendants provide the below witness list. Defendants reserve the right to call any witness

on Plaintiff’s witness list, as well as other witnesses not listed for purposes of impeachment,

rebuttal, or to overcome Plaintiff’s objections to the admission of any document into evidence.

       A.     Witnesses that SFFA “expects to present”
Peter Arcidiacono
1600 Wilson Blvd., Suite 700
Arlington, VA 20009
(703) 243-9423

John V. Fuller
1100 L Street NW
Washington, DC 20005
(202) 514-4336

Jeannette Haynie
1100 L Street NW
Washington, DC 20005
(202) 514-4336

Melody Hwang
1100 L Street NW
Washington, DC 20005
(202) 514-4336

Richard Kahlenberg
1600 Wilson Blvd., Suite 700
Arlington, VA 20009
(703) 243-9423

Stephen Bruce Latta
1100 L Street NW
Washington, DC 20005
(202) 514-4336

Captain Ed Sundberg
1100 L Street NW
Washington, DC 20005
(202) 514-4336


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Lisa Truesdale
1100 L Street NW
Washington, DC 20005
(202) 514-4336

Steven Vahsen
U.S. Naval Academy
121 Blake Road
Annapolis, MD 21402
(410) 293-1000

Ashish Vazirani
1100 L Street NW
Washington, DC 20005
(202) 514-4336

Brigadier General Christopher Walker
1600 Wilson Blvd., Suite 700
Arlington, VA 20009
(703) 243-9423

Dakota Wood
1600 Wilson Blvd., Suite 700
Arlington, VA 20009
(703) 243-9423

       B.      Witnesses that SFFA “may call if the need arises”
       SFFA may present deposition testimony from four members of Students for Fair Ad-

missions (who the parties refer to as Members A, B, C, and D) if the need arises. These indi-

viduals’ identities are protected as “Highly Confidential” under the Protective Order. Their

addresses are contained in their deposition transcripts. All of them are current college students;

they do not reside or attend school within 100 miles of the United States District Court for

the District of Maryland.

       SFFA may also call:

Katherine A. Batterton


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(202) 514-4336

Jason Birch
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Edward Blum
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Stephanie Miller
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John Sherwood
1100 L Street NW
Washington, DC 20005
(202) 514-4336

Anna Natsuyo Wood
1100 L Street NW
Washington, DC 20005
(202) 514-4336

Witnesses from USNA and/or the Defendants necessary to authenticate trial exhibits
1100 L Street NW
Washington, DC 20005
(202) 514-4336

      C.      Witnesses that Defendants “expect to present” at trial

Beth Bailey, Ph.D.
University of Kansas
127 N. 1600th Rd
Lecompton, KS
(215) 908-0159

Jason Birch


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1100 L Street, NW
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John V. Fuller
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Ed Sundberg


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Lisa Truesdale
1100 L Street, NW
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Steve Vahsen
1100 L Street, NW
Washington, D.C. 20530
(202) 305-7583

Ashish Vazirani
1100 L Street, NW
Washington, D.C. 20530
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       D.     Witnesses that Defendants “may call if the need arises”
Katherine Batterton, Ph.D.
1100 L Street, NW
Washington, D.C. 20530
(202) 305-7583

Anna Natsuyo Wood
1100 L Street, NW
Washington, D.C. 20530
(202) 305-7583

Witnesses from Defendants necessary to authenticate trial exhibits
1100 L Street, NW
Washington, D.C. 20530
(202) 305-7583

X.     A list for each party of the name and specialties of experts the party proposes to
       call as witnesses including hybrid fact/expert witnesses such as treating physi-
       cians.
       A.     SFFA’s expert witnesses
        Peter Arcidiacano. Mr. Arcidiacono is a professor of labor economics at Duke Uni-
versity. He has written extensively on the effects of race-based college admissions, including
at Harvard College and the University of North Carolina.



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        Richard Kahlenberg. Mr. Kahlenberg is the Director of the American Identity Project
at the Progressive Policy Institute. He is one of the leading authorities on race-neutral alterna-
tives for schools and universities.

       Brigadier General Christopher Walker. Brigadier General Walker is a graduate of
the United States Air Force Academy and a retired United States Air Force General officer
with over forty years of military experience. General Walker has commanded airmen and other
troops squadron, group, state, and Joint Task Force levels, and his duties during his final as-
signment included serving as the Senior Military Advisor to the Secretary of the Air Force’s
Office of Diversity and Inclusion. General Walker is an expert on foreign affairs, military
readiness, military leadership, unit cohesion, the impact of racial diversity in the military, and
the harms caused to the military by race-based initiatives.

        Dakota Wood. Mr. Wood is a graduate of the United States Naval Academy who
served as an officer in the U.S. Marine Corps for two decades. Following his retirement from
the Marine Corps, Mr. Wood has worked as a scholar, researcher, and advisor on national
security issues for the last twenty years since his retirement from the Marine Corps, including
serving as the civilian Strategist for Marine Corps Special Operations Command and as the
Senior Research Fellow for Defense Programs at the Heritage Foundation. Mr Wood has
published more than 85 articles and major reports and has testified before Congress on military
readiness and national security issues. He is an expert on the U.S. military’s combat readiness,
military leadership, unit cohesion, and the impact of cultural and technological developments
on national security issues.

       B.      Defendants’ expert witnesses

        Beth Bailey, Ph.D. Dr. Bailey is the Foundation Distinguished Professor and found-
ing director of the Center for Military, War, and Society Studies at the University of Kansas.
Dr. Bailey is the author or co-author of five books concerning the issue of race in the military
and has authored more than 40 journal articles or book chapters. Dr. Bailey’s research focuses
on the history of the U.S. military, war and society.

       Katherine Batterton, Ph.D. Dr. Batterton is the Assistant Director, Policy Integra-
tion, Officer & Enlisted Personnel Management, Military Personnel Policy, Office of the Un-
der Secretary of Defense for Personnel & Readiness, Department of Defense. Dr. Batterton
has a doctorate in applied mathematics and is responsible for the development, coordination,
integration, and implementation of total force military personnel policies and programs and
the provision of oversight to the Military Departments, Joint Staff, and other Department of
Defense components on military force management policies and programs.

       Stuart Gurrea, Ph.D. Dr. Gurrea is a managing director at Secretariat, a consultancy
that provides, among other things, applied economic analysis. Dr. Gurrea has over twenty-




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years of experience in the field of microeconomics and applying quantitative techniques to
address economic questions in a variety of fields and industries.

        Jeannette Haynie, Ph.D. Dr. Haynie, a hybrid fact and expert witness, is a former
Senior Advisor to the Office of the Undersecretary of Personnel and Readiness, Department
of Defense. Dr. Haynie is a political scientist whose research focuses on the application of
diversity and inclusion to the military. Dr. Haynie, a United States Naval Academy graduate
and former Marine Corps attack helicopter pilot, has almost 30 years of experience in national
security and leadership, and has more than thirty publications on a wide variety of military
issues.

        Jason Lyall, Ph.D. Dr. Lyall is the James Wright Chair of Transnational Studies &
Associate Professor in the Department of Government and Dartmouth College. Dr. Lyall has
published broadly and has taught on the topic of military effectiveness and intergroup relations
at both the undergraduate and graduated levels. He is an expert on how intergroup relations
affect battlefield performance in modern war, and he is the author of the award-winning book,
Divided Armies: Inequality and Battlefield Performance in Modern War. Dr. Lyall has delivered
presentations on military inequality and battlefield performance at more than 25 universities,
think-tanks, professional associations, and government agencies.

        Stephanie Miller. Ms. Miller, a hybrid fact and expert witness, is the Deputy Assistant
Secretary of Defense for Military Personnel Policy Office of the Under Secretary of Defense
for Personnel and Readiness, Department of Defense. Based on her personal experience,
including her work at the Department of Defense and as a Naval Officer, Ms. Miller has sub-
stantial expertise in military retention and recruitment issues, including the role that racial and
ethnic diversity play in those efforts, as well as general trends concerning the increase of mi-
nority officers in the Navy over time.

        John Sherwood, Ph.D. Dr. Sherwood is a historian with the Naval History and Her-
itage Command, Department of the Navy. Dr. Sherwood has extensively studied the history
of race relations in the Navy, including as reflected in his publication Black Sailor, White Navy:
Racial Unrest in the Fleet During the Vietnam Era. Dr. Sherwood is the Navy’s foremost authority
on the service’s history in Vietnam.

        Lisa Truesdale. Ms. Truesdale, a hybrid fact and expert witness, is the Deputy Assis-
tant Secretary of the Navy (Military Manpower and Personnel) (DASN) (MMP)) within the
Office of the Assistant Secretary of the Navy (Manpower and Reserve Affairs) (ASN
(M&RA)). Ms. Truesdale is responsible for the establishment and oversight of policies related
to U.S. Navy and U.S. Marine Corps active and reserve component service members and their
families. These policies cover, among other things, military human resource management (ac-
cessions, recruiting, assignments, force management, promotions and compensation). Based
on her experience in this and other positions, as well as her time as a Naval Officer, Ms.
Truesdale has significant expertise in the recruitment, retention and promotion practices in



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the Navy, including potential barriers minorities may face in each of these areas, as well as the
relative increase in the number of minority officers over time.

XI.      A list of the pages and/or lines of any portion of a deposition to be offered in a
         party’s case in chief or any counter-designations under Fed. R. Civ. P. 32(a)(4).

         A list of the pages and lines of the portions of depositions that SFFA intends to offer

in its case in chief are below.

         A.     SFFA’s Case-in-Chief Deposition Designations
         SFFA will offer the following testimony by deposition:

30(b)(6) Deposition of Defendants (May 28, 2024)

-     6:9-7:9
-     22:18-25:2
-     30:7-31:6
-     41:22-44:1
-     47:12-48:2
-     50:8-17
-     52:12-55:6
-     57:17-61:4
-     61:20-65:8
-     70:6-72:1
-     77:20-78:19
-     85:5-87:15
-     93:19-105:11
-     105:20-127:2
-     130:1-135:14
-     145:5-146:4
-     154:20-161:4
-     162:9-180:7
-     181:19-190:10
-     197:21-200:11
-     202:16-204:1
-     205:4-221:16
-     221:22-223:20
-     224:22-225:17
-     228:8-229:21

Member A’s Deposition (May 10, 2024)


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-   5:16-6:09
-   11:4-13:8
-   13:17-15:14
-   19:10-20:10
-   20:19-21:5
-   22:13-24:5
-   25:5-26:19
-   27:1-27:22
-   28:9-30:20
-   31:11-34:16
-   36:6-36:11
-   38:3-40:7
-   41:14-42:22
-   44:8-45:18
-   46:6-50:5
-   50:16-52:11
-   52:19-53:9
-   54:9-55:1
-   56:1-56:17
-   59:16-61:11
-   67:8-68:3
-   76:20-77:9
-   79:8-81:16
-   83:20-84:17
-   89:14-92:4
-   93:14-93:18
-   94:7-19
-   95:5-9
-   112:10-114:14

Member B’s Deposition (June 19, 2024)
- 5:15-6:11
- 14:14-16:2
- 18:12-19:20
- 21:12-22:22
- 30:4-31:13
- 31:20-32:11
- 43:6-44:4
- 45:1-45:17
- 46:5-20
- 50:22-54:2
- 54:14-16
- 62:1-62:16
- 66:1-67:10


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-   69:22-70:8
-   72:20-74:7
-   75:12-18
-   101:3-103:1
-   106:2-107:6
-   108:21-109:07
-   109:22-110:18
-   112:6-114:6
-   115:3-115:16
-   119:14-21
-   127:19-129:5
-   129:14-130:3
-   140:3-142:19

Member C’s Deposition (July 11, 2024)
- 6:7-7:6
- 15:6-9
- 21:16-21:21
- 25:17-26:2
- 26:9-26:21
- 30:11-32:3
- 39:18-41:11
- 42:22-45:19
- 50:14-51:8
- 54:2-55:15
- 56:10-56:14
- 62:17-63:4
- 69:16-70:6
- 72:3-75:7
- 78:6-83:4
- 83:20-84:19
- 85:9-18
- 86:3-87:16
- 90:10-92:4
- 93:1-94:2
- 97:1-97:22
- 99:6-9
- 104:4-105:11
- 107:1-8
- 108:21-110:6
- 116:15-119:11
- 131:7-131:20
- 144:14-155:19
- 190:9-193:9


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Member D’s Deposition (July 18, 2024).
- 6:11-7:16
- 13:12-14:4
- 14:18-15:1
- 18:9-18:13
- 25:5-26:16
- 27:7-29:20
- 30:3-32:3
- 32:8-33:7
- 38:8-39:14
- 40:13-43:9
- 45:5-47:5
- 49:12-50:9
- 52:1-54:3
- 56:18-57:22
- 63:11-66:1
- 67:9-69:4
- 69:19-71:5
- 73:5-73:21
- 76:6-76:13
- 77:3-9
- 77:21-78:21
- 79:14-20
- 85:1-92:16
- 94:17-95:12
- 96:1-96:3
- 97:3-98:1
- 99:9-18
- 102:10-102:21
- 103:9-103:19
- 104:11-105:5
- 117:2-120:2
- Errata Sheet

      B.    Defendants’ Counter Designations
      Defendants provide the following counter designations of deposition testimony:

30(b)(6) Deposition of Defendants (May 28, 2024)

Counter Designation
- 61:5–61:10



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Member A’s Deposition (May 10, 2024)

Counter Designations
- 21:6-21:10
- 30:21-31:10
- 56:18-57:4
- 61:12-61:19
- 69:19-70:13
- 92:19-93:12
- 94:20-95:4
- 95:10-96:4

Member B’s Deposition (June 19, 2024)

Counter Designations
- 16:11-17:19
- 63:9-63:21
- 71:9-72:19
- 74:13-75:8
- 105:10-106:1
- 118:1-118:19
- 109:8-109:18
- 109:19-109:21
- 114:7-115:2
- 119:22-120:20
- 129:7-129:13
- 130:18-130:22


Member C’s Deposition (July 11, 2024)

Counter Designations
- 15:10-15:15
- 94:10-94:21
- 155:21-156:7


Member D’s Deposition (July 18, 2024)

Counter Designations
- 18:14-18:20
- 47:6-47:10
- 49:2-49:8
- 71:6-71:20


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-   73:22-76:5
-   79:4-79:13
-   81:4-82:6
-   79:21-81:3
-   96:4-96:9



       C.        Defendants’ Case-in-Chief Deposition Designations
       Defendants will offer the following testimony by deposition:

Member A’s Deposition (May 10, 2024)
- 5:16-5:21
- 6:4-6:9
- 19:21-20:2
- 20:8-21:10
- 29:3-30:22
- 32:13-32:20
- 34:11-34:16
- 35:11-36:22
- 43:19-44:7
- 46:10-47:5
- 54:9-54:16
- 55:16-57:4
- 57:17-57:21
- 58:2-58:9
- 58:12-58:21
- 59:2-59:7
- 59:10-59:22
- 61:5-62:22
- 63:2-63:8
- 68:5-70:18
- 70:20-70:21
- 71:1-72:12
- 73:21-74:11
- 74:13-74:19
- 74:21-75:2
- 78:17-79:7
- 81:17-81:20
- 82:1-82:13
- 82:17-83:6
- 83:9
- 83:11-83:19


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-   85:14-85:19
-   85:22-86:3
-   87:9-87:14
-   87:17-87:20
-   95:5-95:19
-   96:2-98:22
-   101:12-103:19
-   103:22-104:8
-   104:10-104:15
Member B’s Deposition (June 19, 2024)
- 16:11-16:15
- 17:3-17:19
- 23:1-23:12
- 25:12-26:9
- 28:22-30:1
- 32:12-32:21
- 33:1
- 33:12-33:15
- 34:3-34:13
- 34:15-34:18
- 35:8-35:13
- 35:15
- 36:2-36:5
- 36:7
- 37:3-40:20
- 41:7-41:21
- 42:12-43:5
- 49:16-51:13
- 52:6-53:14
- 71:9-71:12
- 71:14-71:18
- 71:20-71:22
- 72:2-72:6
- 72:9-72:16
- 72:19
- 74:13-74:15
- 74:18-74:20
- 75:2-75:5
- 75:8
- 81:18-81:22
- 82:4-82:8
- 82:11
- 83:15-83:18


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-   83:22
-   84:7-84:11
-   84:14
-   85:17-85:20
-   86:1
-   87:18-87:21
-   88:2
-   89:21-90:12
-   103:11-103:14
-   103:18-104:1
-   104:5
-   105:5-105:7
-   105:9
-   105:19-105:21
-   106:1
-   110:14-110:18
-   114:7-114:9
-   114:11-114:14
-   114:16-114:19
-   114:22-115:2
-   118:1-118:3
-   118:6-118:8
-   118:10-118:12
-   118:15
-   123:13-123:18
-   126:20-126:21
-   127:1-127:5
Member C’s Deposition (July 11, 2024)
- 6:7-6:13
- 6:18-6:19
- 20:1-20:4
- 20:19-21:4
- 21:10-21:13
- 22:15-23:5
- 27:18-27:20
- 27:22-28:1
- 28:3-28:14
- 30:11-30:14
- 30:17-31:6
- 31:18-32:14
- 35:12-36:3
- 37:7-37:16
- 37:22-38:5


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-   39:21-40:2
-   40:5-40:17
-   40:20-41:5
-   42:22-43:6
-   43:16-43:22
-   44:10-44:13
-   45:9-45:11
-   46:6-46:13
-   46:17-47:3
-   47:5
-   47:7-47:10
-   54:2-54:5
-   56:4-56:17
-   57:14-57:18
-   57:20-57:21
-   58:1-58:3
-   58:5-58:6
-   58:15-58:17
-   58:19-58:20
-   59:4-59:6
-   59:8-59:10
-   60:19-60:21
-   61:15-61:21
-   62:1-62:3
-   62:5-62:11
-   62:14-62:15
-   73:17-73:22
-   74:14-74:18
-   75:8-75:11
-   75:13
-   75:15-76:3
-   82:11-83:1
-   83:3-83:4
-   84:15-84:19
-   89:5-89:8
-   89:16-89:19
-   92:1-92:7
-   92:9
-   92:11-92:14
-   99:6-100:3
-   100:8-100:19
-   100:21
-   112:15-112:21
-   113:17-113:21


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-   114:2-114:5
-   114:7-114:9
-   133:5-133:8
-   133:11-133:13
-   133:15-133:20
-   134:1
-   135:1-135:3
-   136:6-136:11
-   137:2-137:12
-   137:14
-   137:16-137:22
-   138:1-138:2
-   138:4-138:9
-   138:19-138:21
-   139:1-139:2
-   139:4-139:7
-   139:9-139:11
-   139:13-139:18
-   140:15-140:18
-   140:21
-   141:18-141:22
-   142:11-142:14
-   142:16
-   142:18-143:9
-   143:11-143:12
-   145:9-145:20
-   169:13-169:16
-   169:19-169:21
-   170:1-170:16
-   176:13-176:17
-   176:19-177:10
-   179:15-179:18
Member D’s Deposition (July 18, 2024)
- 12:21-13:1
- 13:21-14:8
- 18:1-18:13
- 19:12-19:13
- 22:19-22:22
- 23:2-23:6
- 23:8-28:11
- 23:13-23:18
- 23:21
- 30:16-30:22


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-   37:16-37:22
-   47:6-47:10
-   48:18-49:8
-   50:13-50:16
-   50:22-51:3
-   54:4-54:20
-   54:22
-   55:2-55:21
-   56:1-56:10
-   56:12-56:15
-   56:17
-   63:11-63:22
-   64:7-64:8
-   64:10
-   64:15-64:17
-   64:19
-   74:19-74:20
-   74:22-75:7
-   75:9-75:16
-   75:19-75:22
-   76:2
-   76:5
-   79:4-79:6
-   79:8
-   81:22-82:4
-   82:6-82:7
-   82:9-82:13
-   82:16-82:22
-   83:5-83:13
-   83:17-84:1
-   84:4-84:11
-   84:14-84:16
-   91:18-92:4
-   96:1-96:5
-   96:8-96:9
-   101:14-101:16
-   101:18
-   104:11-104:13
-   104:16-104:17
-   104:20-105:1
-   105:4-105:8
-   105:11-105:15
-   105:19-106:3
-   106:7


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-   109:8-109:12
-   109:16-109:17
-   109:19-110:5
-   110:10-110:11
-   110:15-110:16
-   114:7-114:10
-   114:15
       D.     SFFA’s Counter Designations
       SFFA provides the following deposition counter-designations:

Member A’s Deposition (May 10, 2024)

-   34:22-35:07
-   37:01-38:02
-   53:19-54:08
-   57:22-58:01
-   58:10-58:11
-   58:22-59:01
-   59:08-59:09
-   63:12-64:01
-   81:21-81:22
-   82:14-82:16
-   83:07-83:08
-   85:20-85:21
-   86:04-87:09
-   87:15-87:16
-   95:20-96:01
-   101:06-101:11
-   103:20-103:21
-   104:09


Member B’s Deposition (June 19, 2024)

-   16:16-17:02
-   18:01-18:07
-   24:15-25:11
-   26:10-26:11
-   34:19-35:07
-   41:22-42:01
-   70:09-71:08
-   71:13
-   71:19

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-   72:01
-   72:07-72:08
-   72:17-72:18
-   74:16-74:17
-   75:06-75:07
-   82:01-82:03
-   82:09-82:10
-   82:12-83:14
-   83:19-83:21
-   84:01-84:06
-   84:12-84:13
-   84:15-85:16
-   85:21-85:22
-   87:22-88:01
-   100:17-101:02
-   103:15-103:17
-   104:02-104:04
-   109:08-109:15
-   110:19-111:13
-   118:04-118:05
-   118:09
-   118:13-118:14
-   118:16-119:01


Member C’s Deposition (July 11, 2024)

-   20:05-20:18
-   21:05-21:09
-   23:06-23:11
-   32:22-35:11
-   36:08-37:02
-   38:06-38:10
-   41:6-41:16
-   47:04
-   47:11-47:22
-   57:19
-   58:04
-   58:18
-   58:22-59:03
-   61:22
-   62:12-62:13
-   89:20-90:09
-   101:01-101:04


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-   113:22-114:01
-   133:09-133:10
-   133:21-133:22
-   134:02-134:03
-   134:17-134:22
-   141:07-141:16
-   142:01-142:09
-   142:15
-   143:10
-   143:14-143:18
-   176:02-176:12
-   179:19-180:10


Member D’s Deposition (July 18, 2024)

-   19:14-19:20
-   23:01
-   23:07
-   23:12
-   23:19-23:20
-   38:01-38:07
-   44:20-45:04
-   47:11-48:03
-   50:17-50:22
-   51:04-51:20
-   75:17-75:18
-   76:01
-   76:03-76:04
-   81:04-81:21
-   82:05
-   82:08
-   82:14-82:15
-   83:01-83:04
-   83:14-83:16
-   84:02-84:03
-   84:12-84:13
-   98:08-99:08
-   101:06-101:13
-   101:17
-   101:19-102:03
-   105:09-105:10
-   105:16-105:18
-   106:04-106:06


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-   108:16-109:07
-   109:13-109:15
-   109:18
-   110:06-110:09
-   110:12-110:14
-   110:17-111:08
-   111:21-112:14
-   113:04-114:05
-   114:11-114:14
-   115:22-116:21


XII.   Any other pretrial relief, including a reference to pending motions, which is re-
       quested
       SFFA has filed a motion for summary judgment on Article III standing and a motion

in limine to exclude certain testimony from Captain Jason Birch. SFFA’s motions are currently

pending with the Court.

       Defendants have filed a motion in limine regarding certain of Plaintiff’s expert wit-

nesses and a motion in limine concerning certain exhibits contained in Plaintiff’s exhibit list.

Defendants’ motions are currently pending with the Court.

XIII. Any other matters added by the Court.
       None.




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                                      Respectfully submitted,

                                      /s/Thomas R. McCarthy
Adam K. Mortara                       Thomas R. McCarthy
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                                      Dated: August 29, 2024

                                      Counsel for Students for Fair Admissions



                                      BRIAN M. BOYNTON
                                      Principal Deputy Assistant Attorney General

                                      ALEXANDER K. HAAS
                                      Director, Federal Programs Branch

                                      /s/ Chris Edward Mendez
                                      JOSHUA E. GARDNER
                                      By Special Appearance
                                      Special Counsel
                                      CHRIS EDWARD MENDEZ
                                      By Special Appearance
                                      CATHERINE M. YANG
                                      By Special Appearance
                                      JOHN ROBINSON
                                      By Special Appearance
                                      Trial Attorneys
                                      U.S. Department of Justice


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                                MEDHA GARGEYA
                                By Special Appearance
                                Counsel
                                U.S. Department of Justice
                                Civil Division, Office of the Assistant
                                Attorney General
                                950 Pennsylvania Avenue NW
                                Washington, DC 20530

                                Dated: August 22, 2024

                                Counsel for Defendants




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                             CERTIFICATE OF SERVICE

      I certify that on August 29, 2024, I filed this proposed pretrial order through the Court’s

CM/ECF system, which will serve all parties.

                                                    /s/Thomas R. McCarthy




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                    APPENDIX A
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                                                                                                                                   Will
Exhibit                                                                                                                         Use/May
          Date                                                                               BegBates        EndBates [Blank]
No.                                                                                                                                Use
                                                   Description                                                                   [Blank]
P1        1/12/24    Office of Admissions Dean's Meeting Powerpoint - March 14, 2023        USNA-00003359    USNA-00003359      Will Use
P2        4/9/21     "Asian and Other Qualified No Offers" Excel File                       USNA-00004593    USNA-00004593      Will Use
P3        4/9/21     "Hispanic or Latino Qualified No Offers" Excel File                    USNA-00004594    USNA-00004594      Will Use
P4        4/9/21     "African American Qualified No Offers" Excel File                      USNA-00004595    USNA-00004595      Will Use
P5        2/28/24    2023 - Board Routing.csv                                               USNA-00003547    USNA-00003547      Will Use
P6        2/28/24    2024 - Board Routing.csv                                               USNA-00003535    USNA-00003535      Will Use
P7        2/22/24    2025 - Board Routing.csv                                               USNA-00003527    USNA-00003527      Will Use
P8        2/22/24    2026 - Board Routing.csv                                               USNA-00003526    USNA-00003526      Will Use
P9        2/22/24    2027 - Board Routing.csv                                               USNA-00003525    USNA-00003525      Will Use
P10       10/15/21   Email with "Equity Versus Equality" Document attached                  USNA-00028541    USNA-00028545      Will Use
                     Email from Lacy to Rimmer re: "Initial Equity Assessment," with
P11       3/1/23                                                                            USNA-00028833    USNA-00028870      Will Use
                     "Midshipmen Equity" Document attached
                     Email from Melody Hwang to Bruce Latta re: "Slate Declines" and "Slate
P12       5/5/22                                                                            USNA-00020331    USNA-00020332      Will Use
                     Declines 5-5" document attached
P13       5/10/23    Email from Melody Hwang to Christie Munnelly re: RABs                  USNA-00018302    USNA-00018303      Will Use
P14       5/10/23    Email from Melody Hwang to Christie Munnelly re: Blue Chip Athletes USNA-00018304       USNA-00018305      May Use
P15       6/23/20    "Offer Opportunity FQ/FQO" Document                                    USNA-00003569    USNA-00003569      Will Use
                     Email from Dave Shaffer to Bruce Latta with "Class of 2025" Powerpoint
P16       4/28/22                                                                           USNA-00020359    USNA-00020361      May Use
                     attached and other attachment
                     Email from Melody Hwang to Michelle Bishop re: "Nominations Assist"
P17       4/24/23                                                                           USNA-00016872    USNA-00016872      May Use
P18       5/11/22    "Class Comparisons" Document                                            USNA-00002648   USNA-00002649      Will Use
P19       4/10/23    "Noms and Apps" Discussion Points                                       USNA-00002642   USNA-00002643      May Use
P20       4/1/22     "Nominations Update" Discussion Points                                  USNA-00002646   USNA-00002647      May Use
P21       6/29/23    Blue and Gold Officer Handbook                                          USNA-00001384   USNA-00001460      May Use
P22       2/8/24     U.S. Naval Academy Admissions - Executive Summary August 2023           USNA-00000139   USNA-00000145      Will Use
P23       4/23/24    Admissions Training Powerpoint - August 31, 2023                        USNA-00006564   USNA-00006575      Will Use
P24       1/11/24    USNA Admissions Legal Overview Powerpoint - August 2023                 USNA-00000696   USNA-00000830      May Use
P25       12/4/13    Overview of Admissions Whole Person Multiple - March 26, 2010           USNA-00001861   USNA-00001881      May Use
                     Nomination Process and Congressional Slate Review Guidance - Class of
P26       10/9/18                                                                            USNA-00006557   USNA-00006558      Will Use
                     2023
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P27   11/7/23    Dean of Admissions Supplemental Guidance for the Class of 2028       USNA-00000146   USNA-00000151   Will Use
P28   6/28/23    Memorandum Regarding Admissions Guidance for the Class of 2028       USNA-00000152   USNA-00000155   Will Use
P29   8/8/22     Memorandum Regarding Admissions Guidance for the Class of 2027       USNA-00000196   USNA-00000199   Will Use
P30   8/24/22    Dean of Admissions Supplemental Guidance for the Class of 2027       USNA-00000200   USNA-00000205   May Use
                 Memorandum Regarding the Use of "Affirmative Action" in Admissions
P31   10/18/23                                                                        USNA-00000389   USNA-00000390   May Use
                 Decisions at the U.S. Naval Academy
P32   3/1/21     U.S. Naval Academy's Diversity and Inclusion Strategic Plan          USNA-00000391   USNA-00000402   May Use
P33   12/3/21    2021 Institute Effectiveness Report                                  USNA-00000610   USNA-00000630   May Use
P34   12/18/23   2022 Institute Effectiveness Report                                  USNA-00001837   USNA-00001860   May Use
P35   7/10/20    "Race and Ethnicity Debate" Powerpoint                               USNA-00002367   USNA-00002367   May Use
P36   1/17/24    United States Naval Academy Office of Admissions Powerpoint          USNA-00002685   USNA-00002720   Will Use
P37   8/28/23    Minority Applications Versus Minority Admissions Excel File          USNA-00002721   USNA-00002721   May Use
P38   4/20/21    Nominations Update - Congressional Slate Discussion Points           USNA-00002750   USNA-00002751   May Use
P39   7/1/20     "Class Comparisons" Document - June 30                               USNA-00002752   USNA-00002752   May Use
P40   3/31/20    Nominations Update - Slate Review Discussion Points                  USNA-00002774   USNA-00002775   May Use
P41   6/30/19    Class Comparisons Document - June 29                                 USNA-00002776   USNA-00002776   May Use
P42   2/6/24     Diversity & Inclusion Admissions - 2022 Report                       USNA-00003227   USNA-00003246   May Use
P43   8/19/22    Admissions Board Training Powerpoint - 2022                          USNA-00003260   USNA-00003260   May Use
P44   9/7/23     Letters of Assurance Powerpoint                                      USNA-00003307   USNA-00003313   May Use
P45   6/21/23    Tab A3 Accepts 19 JUN 23                                             USNA-00001359   USNA-00001359   Will Use
P46   1/16/24    Dean of Admissions Supplemental Guidance for the Class of 2024       USNA-00003393   USNA-00003397   May Use
P47   1/18/24    "Minority Application and I-Day Representation" Document             USNA-00003566   USNA-00003567   Will Use
P48   6/22/20    Demographic Information 2012-24 Excel File                           USNA-00003570   USNA-00003570   Will Use
P49   7/31/18    USNA Candidate Information                                           USNA-00003742   USNA-00003775   May Use
P50   4/26/23    Admissions Excellence - INSPIRE Program                              USNA-00004423   USNA-00004424   May Use
P51   12/1/21    U.S. Naval Academy Admissions - Executive Summary August 2020        USNA-00004536   USNA-00004543   May Use
P52   5/30/23    Service Academy Additional Questions RFI                             USNA-00004555   USNA-00004555   May Use
P53   2/17/21    Miscellaneous Candidates/Issues for Discussion                       USNA-00004565   USNA-00004566   May Use
P54   9/20/22    "Moving the Needle" Powerpoint                                       USNA-00004811   USNA-00004811   May Use
P55   9/22/23    "Request for SASC - Nominations #'s" Email                           USNA-00004862   USNA-00004867   May Use
P56   2/9/24     Department of Defense Information Paper                              USNA-00004897   USNA-00004916   May Use
P57   2/9/24     "USNA Attrition" Document                                            USNA-00004917   USNA-00004918   May Use
P58   2/13/24    "NASS 2024 Selection Training" Powerpoint                            USNA-00005376   USNA-00005376   Will Use
P59   8/1/23     Admissions Board Training Powerpoint - August 2023                   USNA-00015983   USNA-00016000   Will Use
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P60   4/22/20    "USNA College Entrance Examination Analysis" Powerpoint                 USNA-00016001   USNA-00016001   May Use
P61   4/21/20    NAPS Admissions Board Discussion Points                                 USNA-00016003   USNA-00016004   May Use
P62   7/18/23    Naval Academy Preparatory School Guidance for Academic Year 2024        USNA-00016027   USNA-00016028   May Use
P63   2/13/22    "Candidate Number" Excel file                                           USNA-00016045   USNA-00016045   May Use
P64   10/10/18   Guidance to Attend Preparatory Programs - 2020                          USNA-00016053   USNA-00016053   May Use
P65   8/22/22    Superintenent Remarks at Admissions Board Meeting - 2022                USNA-00005494   USNA-00005496   May Use
P66   8/22/22    "Moving the Needle" Powerpoint No. 2                                    USNA-00005499   USNA-00005499   May Use
P67   9/26/22    "Class of 2027 Application Projections" Powerpoint                      USNA-00005510   USNA-00005510   May Use
P68   4/4/23     "African American Qualified No Offers 2023-04-04" Excel File            USNA-00005571   USNA-00005571   Will Use
P69   8/25/21    Superintenent Remarks at Admissions Board Meeting - 2021                USNA-00005886   USNA-00005888   May Use
P70   7/13/20    "USNA Student Demographics" Document                                    USNA-00006320   USNA-00006320   May Use
P71   9/4/19     "General Board Process" Powerpoint                                      USNA-00006323   USNA-00006323   May Use
P72   10/24/19   "Preparatory School Recommendations" Powerpoint                         USNA-00006329   USNA-00006329   May Use
P73   5/12/20    USNA Rejection Letter                                                   USNA-00006367   USNA-00006368   May Use
P74   8/15/18    Superintendent Remarks at Admissions Board Meeting - 2018               USNA-00006554   USNA-00006555   May Use
P75   5/17/22    Email from Charles Abbott to S. Buck re: "Amicus Brief"                 USNA-00016526   USNA-00016618   May Use
P76   2/6/22     Email from Carlos Del Toro to S. Buck re: "Vander Billingslea"          USNA-00016619   USNA-00016619   May Use
                 Email from Melody Hwang to Lauren Zaccheo re: "USNA LOAs no
P77   2/11/22                                                                            USNA-00016744   USNA-00016745   May Use
                 nom"
P78   3/22/22    Email from Melody Hwang to Cynthia Bernstein re: "Call at 3:30 today"   USNA-00016751   USNA-00016765   May Use
P79   8/7/23     "Strategy Assessment and Recommendation" Document                       USNA-00016802   USNA-00016848   May Use
P80   5/25/23    "Region 0 Analysis" Powerpoint                                          USNA-00016860   USNA-00016862   May Use
                 Email from Melody Hwang to Felicity Hector-Bruder: "US Naval
P81   4/19/23                                                                            USNA-00016878   USNA-00016894   May Use
                 Academy and OVP"
P82   4/22/22    Email from Melody Hwang to Cynthia Bernstein re: "Nominations"          USNA-00016928   USNA-00016929   May Use
P83   11/12/21   Email from Melody Hwang to Bruce Latta re: "LOAs"                       USNA-00017250   USNA-00017251   May Use
P84   1/4/23     Average Attrition Rates Powerpoint                                      USNA-00017529   USNA-00017536   May Use
P85   1/4/23     "Gender Composition" Powerpoint                                         USNA-00017537   USNA-00017547   May Use
                 Email from Deborah McDonald to Bruce Latta re: "Affirmative
P86   11/16/22                                                                           USNA-00017733   USNA-00017733   May Use
                 Action_USNA"
                 Email from Melody Hwang with attached "Application Decisions"
P87   11/29/22                                                                           USNA-00017738   USNA-00017739   May Use
                 Powerpoint
                 Email from Deborah McDonald to Arthur Primas and others with
P88   11/17/22   attached Memorandum Regarding the Use of "Affirmative Action" in        USNA-00017961   USNA-00017964   May Use
                 Admissions Decisions at the U.S. Naval Academy - November 10, 2022
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P89    11/1/22    Email from Deborah McDonald to Bruce Latta re: "Affirmative Action"        USNA-00017999   USNA-00018001   May Use
P90    10/21/22   Email from munnelly@usna.edu to Bruce Latta re: "Racial Makeup"            USNA-00018164   USNA-00018164   May Use
                  Email from Bruce Latta Germel Clarke re: "Diversity Recruiting Goals"
P91    6/9/23                                                                                USNA-00018281   USNA-00018284   May Use
                  and attachment
                  Email from Cay McGuire with Race and Ethnic Breakdown Table for
                  2022-2026, Race and Ethnic Breakdown Table for 2022-2026 - Accepted
P92    6/2/23                                                                                USNA-00018291   USNA-00018299   Will Use
                  Applicants, and Race and Ethnic Breakdown Table for 2022-2026 -
                  Accepted Applicants
P93    5/9/23     Email from Melody Hwang to Bruce Latta re: Blue Chip Athletes              USNA-00018306   USNA-00018306   May Use
P94    5/4/23     Email from Melody Hwang to Bruce Latta re: Admissions Offers               USNA-00018309   USNA-00018310   May Use
P95    4/28/23    Email from Christie Munnelly to Melody Hwang re: Blue Chip Athletes        USNA-00018315   USNA-00018316   May Use
                  Emailing Meeting re: "SCOTUS Affirmative Action Decision" with
P96    5/15/23                                                                               USNA-00018317   USNA-00018318   May Use
                  calendar attachment
P97    5/12/23    Email from Gary Guthrie to Julie Rudy re: "Affirmative Action"             USNA-00018324   USNA-00018325   May Use
                  Email from Melody Hwang to Bruce Latta with "Nomination Source
P98    5/12/23                                                                               USNA-00018326   USNA-00018328   May Use
                  Category" Excel File and Prep Wait List-2023-05-12 Excel File
                  Email from Alexandra Fitzgerald to Bruce Latta with attached PDF
P99    5/8/23                                                                                USNA-00018354   USNA-00018429   May Use
                  Conference of Service Academy Superintendents - April 2023
                  Email from Bruce Latta to James Bates with "USNA Application
P100   9/14/23                                                                               USNA-00018690   USNA-00018695   May Use
                  Process" Document attached
                  Email from Bruce Latta to Germel Clarke with "Goals for c/o 2020
P101   9/6/23                                                                                USNA-00018696   USNA-00018706   May Use
                  Admissions Cycle" Powerpoint and other attachments
                  Email from Marcus Jones to Bruce Latta re: "Harvard admissions
P102   8/14/23                                                                               USNA-00018727   USNA-00018727   May Use
                  application"
                  Email from Marcus Jones to Bruce Latta re: "Military Academy recruiting"
P103   8/9/23                                                                                USNA-00018799   USNA-00018799   May Use
P104   9/21/22    Email from Emily Donaho to Bruce Latta re: "Data issues"                   USNA-00019280   USNA-00019281   May Use
                  Email from Debrah McDonald to Bruce Latta re: "DA Lit Division" with
P105   9/23/22                                                                               USNA-00019379   USNA-00019382   May Use
                  attachment witheld for privilege
P106   8/23/22    Email from Bruce Latta Alana Garas re: "UC Berkeley Professor"             USNA-00019432   USNA-00019433   May Use
                  Email from Will McShane to Bruce Latta With "Class of 2027 HICS"
P107   2/16/23                                                                               USNA-00019601   USNA-00019608   May Use
                  Attached
                  Email from David Arnold to Bruce Latta with "Brigade Striper Board
P108   2/1/23                                                                                USNA-00019664   USNA-00019820   May Use
                  Read-Ahead" attached
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                 Email from Bob Brennan to Steve Vahsen re: "NAPS Academic Study,"
P109   2/1/23                                                                          USNA-00019821      USNA-00019824   Will Use
                 with attachment

                 Email from Marcus Jones to Bruce Latta re: "SFFA v. Harvard" with
P111   6/29/23                                                                            USNA-00020018   USNA-00020256   May Use
                 Supreme Court opinion attached
                 Email from Bruce Latta to Elizabeth Miller re: "Supes Guidance," with
P112   6/27/23                                                                            USNA-00020266   USNA-00020270   May Use
                 attachments
P113   6/5/23    Email from Alana Garas to Herb Lacy re: "diverse cultural backgrounds" USNA-00020276     USNA-00020281   May Use
P114   4/12/22   Email from Melody Hwang to Bruce Latta re: "official test scores"        USNA-00020355   USNA-00020356   May Use
                 Email from Melody Hwang to Bruce Latta with "Reason" Excel File
P115   4/28/22                                                                            USNA-00020364   USNA-00020368   May Use
                 attached
P116   3/30/22   Email from Melody Hwang to Bruce Latta re: "LOAs" with attachment        USNA-00020448   USNA-00020449   May Use
                 Email from Bruce Latta to Christie Munnelly with "Board Actions &
P117   4/6/22                                                                             USNA-00020475   USNA-00020479   May Use
                 Offers" Document attached
P118   4/4/22    Email from Brad Baker to Bruce Latta re: "Board Actions," with attach    USNA-00020480   USNA-00020484   May Use
                 Email from Melody Hwang to Christie Munnelly re: "Supe Meeting
P119   3/4/22                                                                             USNA-00020508   USNA-00020509   May Use
                 Feedback"
                 Email from Bushnell to Kertreck Brooks re: "NROTC Diversity, Equity,
P120   1/11/22                                                                            USNA-00020538   USNA-00020548   May Use
                 Inclusion"
                 "MIDSHIPMEN ATTRITION SUMMARY" Excel File,
P121   1/6/22    MIDSHIPMEN ATTRITION SUMMARY AFRICAN AMERICAN" USNA-00020569                             USNA-00020580   May Use
                 Excel File, and other files attached
P122   4/7/23    Email from Christie Munnelly to Bruce Latta re: "Slate Review"           USNA-00020631   USNA-00020631   May Use
                 Email from Bruce Latta to Melody Hwang with "HICS 1" Document
P123   4/2/23                                                                             USNA-00020731   USNA-00020735   May Use
                 attached
P124   3/16/23   Email from Bruce Latta to Christie Munnelly re: "Board Actions"          USNA-00020832   USNA-00020833   May Use
                 Email from Alexandra Fitzgerald to Bruce Latta and others, with attached
P125   3/31/23   "Welcome to the 61st Annual Conference of Service Academy                USNA-00020849   USNA-00020901   May Use
                 Superintendents" Document
                 Email from Melody Hwang to Christie Munnelly re: "Supe Meeting
P126   2/28/23                                                                            USNA-00020935   USNA-00020936   May Use
                 Feedback" No.2
                 Email from Bruce Latta to John Rudder with "Admissions Excellence -
                 Marketing" Document, Admissions Excellence - Engagement Document,
P127   3/23/22                                                                            USNA-00020992   USNA-00020996   May Use
                 Admissions Excellence - Summer Programs" Document, and other
                 document attached.
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                  Email from Bruce Latta to Will McShane with "Talking Points USD P &
P128   3/21/22                                                                             USNA-00021019   USNA-00021020   May Use
                  R" Document
                  Email from Bruce Latta to Melody Hwang re: "tasked RFI," with Service
P129   3/7/22     Academy applicants, nominations, and selections" Excel File attachment   USNA-00021135   USNA-00021141   May Use

                  Email from Melody Hwang with "Turn Down Schedule" Document
P130   2/17/22                                                                          USNA-00021174      USNA-00021176   May Use
                  attached
                  Email from Frances Thompson to Bruce Latta re: "MAPWG" with
                  "Tasker Data" Document, RFI re: "Actions to Improve Racial and Ethnic
P131   3/1/22                                                                           USNA-00021197      USNA-00021278   May Use
                  Diversity" Document, and Memorandum re: "Actions to Improve Racial
                  and Ethnic Diversity" attached
                  Email with "Audience Selection Recommendations" Document attached
P132   2/18/22                                                                          USNA-00021293      USNA-00021308   May Use
                  Email with Candidate SAT/GPA Excel File, Midshipman ACT data excel
P133   2/15/22                                                                             USNA-00021439   USNA-00021442   May Use
                  file, and Midshipmen Performance Comparison excel file attached
                  Email from Melody Hwang to various recipients with "Turn Down
P134   2/9/22                                                                              USNA-00021492   USNA-00021494   May Use
                  Schedule" Document - 2022, other document attached
                  Email from Bruce Latta to Christie Munnelly re: "Offers & Board Actions"
P135   2/3/22                                                                              USNA-00021502   USNA-00021504   May Use
                  with attachment
P136   9/20/23    Email from Marcus Jones to Bruce Latta re: "Background Research"         USNA-00021818   USNA-00021818   May Use
                  Email from Bruce Latta to Germel Clarke with "Admissions Activities"
P137   9/30/23                                                                             USNA-00021901   USNA-00022038   May Use
                  Excel File, other files attached
                  Email from Alexandra Fitzgerald to Bruce Latta with Memo re: "Race
P138   8/25/22                                                                             USNA-00022270   USNA-00022272   May Use
                  Considerations Regarding Admission" attached
                  Email from Jonathan Hollis to Bruce Latta re: "D&I Strategic Plan" with
P139   6/21/22                                                                             USNA-00022801   USNA-00022807   May Use
                  "Increase Cultural aptitude" Document attached
P140   3/23/23    Email from Tasya Lacy to Christie Munnelly re: "Corrections"             USNA-00023409   USNA-00023410   May Use
                  Email from Steve Vahsen to Dan O'Sullivan re: "Updated Attrition
P141   1/28/22                                                                             USNA-00023473   USNA-00023475   May Use
                  Statistics," with "Minority attrition" Excel File attachment
                  Email from Steven Vahsen to Bob Brennan re: "AEB Monthly Meeting
P142   1/24/22                                                                             USNA-00023476   USNA-00023478   May Use
                  Reminder," with attachment
                  Email with "Graduation and Attrition" Slides attached, additional
P143   11/14/22                                                                            USNA-00023874   USNA-00023888   May Use
                  attachment
                  Email with "NAPS Program Status" Powerpoint attached, other
P144   11/29/21                                                                            USNA-00024056   USNA-00024058   May Use
                  attachment
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P145   11/3/21    Email with "Reports for a report type" Powerpoint attached               USNA-00024162   USNA-00024163   May Use
                  Email from Thomas Gregory to Christie Munnelly re: "Supreme Court -
P146   6/30/23                                                                             USNA-00024392   USNA-00024392   May Use
                  Current Events"
                  Email from Bob Brennan to Steve Vahsen with "Graduating Class Survey -
P147   3/29/23                                                                             USNA-00024438   USNA-00024512   May Use
                  Class 2022" Document, other documents attached
                  Email from Steve Vahsen to David Forman re: "Any available time?" with
P148   7/31/23                                                                             USNA-00024565   USNA-00024599   May Use
                  attachment
                  Email with "USNA High-Interest Topics December 2023" Document,
P149   12/18/23                                                                            USNA-00024640   USNA-00024676   May Use
                  other documents attached
                  Email from Steve Vahsen to Steve Vahsen with "Whole Person Multiple
P150   7/8/23                                                                              USNA-00025294   USNA-00025310   May Use
                  (WPM)" Powerpoint attached
                  Email from Steve Vahsen to Steve Vahsen with ""Foundation BOD"
P151   6/30/23                                                                             USNA-00025320   USNA-00025368   May Use
                  Powerpoint, other documents attached
                  Email from Lou Gianotti to Vahsen re: "Read Ahead," with "Critical Legal
P152   10/21/21                                                                            USNA-00025465   USNA-00025466   May Use
                  Theory" Document attached
                  Email from Cathy McGuire to Steve Vahsen with "Attrition Reason"
P153   7/11/22                                                                             USNA-00025470   USNA-00025472   May Use
                  Excel File attached
                  Email from Alexandra Fitzgerald to Steve Vahsen re: "Organzational
P154   8/10/22                                                                             USNA-00025706   USNA-00025799   May Use
                  Climate," with various attachments
                  Email from Steve Vahsen to Alana Garas re: "Here is some classroom
P155   10/21/21                                                                            USNA-00025842   USNA-00025846   May Use
                  stuff for you"
P156   10/14/21   Email from Steve Vahsen to Johnson re: "Health of Force Info"            USNA-00025850   USNA-00025851   May Use
P157   9/27/21    Email from Vahsen to Goldberg re: "GAO RFI"                              USNA-00025864   USNA-00025866   May Use
P158   9/17/21    Email with "Board of Visitors" Document attached                         USNA-00025875   USNA-00025945   May Use
P159   11/29/22   Email with "Board of Visitors" Powerpoint attached                       USNA-00026329   USNA-00026330   May Use
P160   8/23/22    Email with "Report by Race-Ethnic Group" Document attached               USNA-00026372   USNA-00026378   May Use
P161   9/8/22     Email with NAPS 2022 Document attached                                   USNA-00026656   USNA-00026670   May Use
                  Email with "Graduation Rate by Race-Ethnic Group" Document attached
P162   8/9/22                                                                              USNA-00026674   USNA-00026683   Will Use
P163   7/17/22    Email from Bradley to Molloy re: "Graduation Rates"                   USNA-00026684      USNA-00026688   May Use
P164   7/12/22    Email from Oneill to Vahsen re: "Class of 2023 Attrition"             USNA-00026720      USNA-00026721   May Use
P165   7/11/22    Email from Vahsen to McGuire re: "Class of 2023 Attrition"            USNA-00026726      USNA-00026727   May Use
P166   7/16/23    Email with "Brigade Diversity" Document attached                      USNA-00026946      USNA-00026972   May Use
P167   3/7/22     Email with "Brigade Demographics" Powerpoint attached                 USNA-00027563      USNA-00027594   May Use
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                  Email with "PROFESSIONAL & MORAL DEVELOPMENT" Excel
P168   7/5/23                                                                             USNA-00027062   USNA-00027063   May Use
                  File attached
                  Email from Vahsen to Petermen re: "Hearing Service Academies," with
P169   6/27/23    "Promoting Racial Diversity at the Military Service Academies" Document USNA-00027140   USNA-00027145   May Use
                  No. 1 attached
                  Email with Promoting Racial Diversity at the Military Service Academies
P170   6/26/23                                                                            USNA-00027146   USNA-00027150   May Use
                  Document No. 2 attached
P171   12/13/21   Email with "Checking In" Document attached                              USNA-00027176   USNA-00027179   May Use
P172   12/2/21    Email from Bates to Vahsen re: "USNA DEI Data"                          USNA-00027184   USNA-00027190   May Use
P173   12/3/21    Email with "Brigade Composition" Document attached                      USNA-00027242   USNA-00027254   May Use
P174   12/7/21    Email from Vahsen to Lacy re: "USNA Attrition," with attachment         USNA-00027263   USNA-00027264   May Use
P175   11/18/21   Email with "Graduation and Attrition" Document attached                 USNA-00027343   USNA-00027365   May Use
P176   12/16/21   "Graduation rate, percentage, USNA Class Year" Excel File               USNA-00027366   USNA-00027373   May Use
                  Email with "Strategy Assessment and Recommendation" Document
P177   4/4/22                                                                             USNA-00027383   USNA-00027410   May Use
                  attached
P178   3/16/22    Email with "GRADUATION RATES" Excel File attached                       USNA-00027621   USNA-00027623   May Use
P179   3/15/22    Email with "Reporting Race/Ethnicity" Document attached                 USNA-00027760   USNA-00027763   May Use
P180   5/12/22    Email from Jones to Baker re: "Harvard Admissions Submission"           USNA-00028411   USNA-00028412   May Use
                  Email from Baker to Jones re: "How Strong are the Racial Preferences of
P181   5/2/22                                                                             USNA-00028413   USNA-00028413   May Use
                  Universities"
                  Email from Jones to Baker re: "Anti-Affirmative Action Group sues West
P182   9/20/23                                                                            USNA-00028415   USNA-00028416   May Use
                  Point"
P183   12/6/21    Email from Lacy to McFarlin re: "Inspire Program" with attachment       USNA-00028499   USNA-00028501   May Use
P184   3/2/22     Email with "New Diversity Officer" Powerpoint attached                  USNA-00028574   USNA-00028579   May Use
P185   9/19/23    Email from Lacy to Chi re: "DEI Conversation"                           USNA-00028582   USNA-00028583   May Use
P186   11/5/21    Email with "Putative Application" excel file attached                   USNA-00028594   USNA-00028598   May Use
P187   3/17/23    Email from Looney to Herb re: "Cadet Attrition Data"                    USNA-00029183   USNA-00029184   May Use
P188   3/15/23    Email from deKoven to Benitez re: "Cadet Attrition Data"                USNA-00029187   USNA-00029189   May Use
P189   8/17/22    Email from Gilbert to Neal re: "Moving the Needle"                      USNA-00029196   USNA-00029196   May Use
                  Email from McGuire to Segler re: "Data Request," with "PIVOT - Gender
P190   8/11/23                                                                            USNA-00029362   USNA-00029368   May Use
                  & Feeder" Excel File attached
P191   2/7/24     NAPS Notes                                                              USNA-00001882   USNA-00001916   May Use
P192   2/7/24     NAPS Notes (cont.)                                                      USNA-00001917   USNA-00001945   May Use
P193   7/16/24    "Relevant Actions from DOD D&I Strategic Plan" Document                 USNA-00032231   USNA-00032234   May Use
P194   7/6/24     "N1 CNA STUDIES 2005-2024" Excel File                                   USNA-00031796   USNA-00031796   May Use
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P195   7/6/24     "CAN Studies Since 2018 related to DEI" Document                        USNA-00031773   USNA-00031795   May Use
                  "Female and Minority Representation Among Navy Officers" Document
P196   4/1/18                                                                             USNA-00030434   USNA-00030475   May Use
P197   2/1/19     "Drivers of Navy First-Term Attrition" Document                         USNA-00030156   USNA-00030187   May Use
                  "Improving Diversity in Marine Corps Officer Career Progression"
P198   3/1/23                                                                             USNA-00030078   USNA-00030155   May Use
                  Document
                  Email with "Step Up and Lead for Equity A Preliminary Analysis in the
P199   11/16/21                                                                           USNA-00029360   USNA-00029361   May Use
                  Brigade" Powerpoint attached
P200   11/7/21    Email with "INSPIRE Program Background" Document attached               USNA-00028589   USNA-00028593   May Use

P202   3/23/22    Email with "Midshipmen Service Assignment" Document attached            USNA-00027479   USNA-00027505   May Use
P203   7/18/23    Email with "Diversity and Inclusion Strategic Plan" Document attached   USNA-00026996   USNA-00027028   May Use

P205   7/14/22    Email from Bates to Brady re: "Annapolis Graduation Rates"              USNA-00026705   USNA-00026708   May Use

                  Email from Latta to Buck re: "Class Planning Methodology" with "Class
P207   5/25/22                                                                            USNA-00023077   USNA-00023080   May Use
                  Comparisons" Document - May 24 attached
P208   2/2/22     Email from Del Toro to Buck re: "USNA-Dodd Interest"                    USNA-00016620   USNA-00016620   May Use
P209   7/4/24     "Delivering Through Diversity" Document                                 USNA-00013061   USNA-00013076   May Use
P210   6/24/24    "Diversity and Inclusion Report" Document                               USNA-00012620   USNA-00012707   May Use
P211   7/11/24    "Officer Retention Rates" Document                                      USNA-00009814   USNA-00009820   May Use
P212   11/7/21    "Federal Data on Race and Ethnicity" Document                           USNA-00004801   USNA-00004810   May Use
P213   4/21/24    "Black and Hispanic Marines" Document                                   USNA-00004147   USNA-00004204   May Use
P214   4/3/24     "USNA Student Demographics" Excel File                                  USNA-00003573   USNA-00003573   May Use
P215   2/7/24     "Diversity & Inclusion Admissions 2023"                                 USNA-00001106   USNA-00001128   May Use
P216   2/7/24     "2027 Class Stats 10 May 23" Document                                   USNA-00000662   USNA-00000662   May Use
P217   2/8/24     "Military Service Academies" Document                                   USNA-00000160   USNA-00000188   May Use
P218   7/15/24    Expert Report of Peter S. Arcidiacono with Appendices                   N/A             N/A             May Use
P219   7/15/24    Expert Report of Richard D. Kahlenberg with Appendices                  N/A             N/A             May Use
                  Expert Report of Brigadier General (Ret) Christopher S. Walker with
P220   7/15/24                                                                            N/A             N/A             May Use
                  Appendices
P221   7/15/24    Expert Report of Dakota L. Wood with Appendices                         N/A             N/A             May Use
P222   7/31/24    Rebuttal Expert Report of Peter S. Arcidiacono with Appendices          N/A             N/A             May Use
P223   7/31/24    Rebuttal Expert Report of Richard D. Kahlenberg with Appendices         N/A             N/A             May Use
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                 Rebuttal Expert Report of Brigadier General (Ret) Christopher S. Walker
P224   7/31/24                                                                               N/A   N/A   May Use
                 with Appendices
P225   7/31/24   Rebuttal Expert Report of Dakota L. Wood with Appendices                    N/A   N/A   May Use
P226   7/15/24   Expert Report of Beth Bailey with Appendices                                N/A   N/A   May Use
P227   7/15/24   Expert Report of Jason Lyall                                                N/A   N/A   May Use
P228   7/15/24   Expert Report of Jason Lyall - Exhibit A: Documents Considered              N/A   N/A   May Use
P229   7/15/24   Expert Report of Jason Lyall - Exhibit B: Curriculum Vitae                  N/A   N/A   May Use
P230   7/15/24   Rule 26(a)(2)(C) Disclosures of John Sherwood                               N/A   N/A   May Use
P231   7/15/24   Rule 26(a)(2)(C) Disclosures of Lt. Col. Katherine A. Batterton             N/A   N/A   May Use
                 Rule 26(a)(2)(C) Disclosures of Lt. Col. Katherine A. Batterton - Exhibit
P232   7/15/24                                                                               N/A   N/A   May Use
                 A: Curriculum Vitae
                 Rule 26(a)(2)(C) Disclosures of Lt. Col. Katherine A. Batterton - Exhibit
P233   7/15/24   B: Analysis of Navy and US Marine Corps Active Duty Officers                N/A   N/A   May Use
                 Commissioning Through the US Naval Academy
P234   7/15/24   Rule 26(a)(2)(C) Disclosures of Jeannette Haynie with Appendix              N/A   N/A   May Use
P235   7/15/24   Rule 26(a)(2)(C) Disclosures of Stephanie Miller                            N/A   N/A   May Use
                 Rule 26(a)(2)(C) Disclosures of Stephanie Miller - Exhibit A: Analysis of
P236   7/15/24   Navy and US Marine Corps Active Duty Officers Commissioning                 N/A   N/A   May Use
                 Through the US Naval Academy
P237   7/15/24   Rule 26(a)(2)(C) Disclosures of Lisa Truesdale                              N/A   N/A   May Use
P238   7/15/24   Rule 26(a)(2)(C) Amended Disclosures of Lisa Truesdale                      N/A   N/A   May Use
                 Rule 26(a)(2)(C) Amended Disclosures of Lisa Truesdale - Exhibit A:
P239   7/15/24                                                                               N/A   N/A   May Use
                 USN Officer Rate
P240   7/31/24   Expert Witness Rebuttal Report of Stuart Gurrea                             N/A   N/A   May Use
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 1: Curriculum
P241   7/31/24                                                                               N/A   N/A   May Use
                 Vitae of Stuart D. Gurrea, Ph.D.
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 2: Deposition
P242   7/31/24   and trial testimony of Stuart D. Gurrea during the past four years          N/A   N/A   May Use

                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 3: Materials
P243   7/31/24                                                                             N/A     N/A   May Use
                 Considered
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 4: Filtering of
P244   7/31/24                                                                             N/A     N/A   May Use
                 the Applications Database
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 5: Net RAB
P245   7/31/24                                                                             N/A     N/A   May Use
                 Points 2023–2027, by Reason and Source Categories
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                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 6: Absolute
P246   7/31/24                                                                              N/A   N/A   May Use
                 RAB Points 2023–2027, by Reason and Source Categories
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 7: College
P247   7/31/24                                                                              N/A   N/A   May Use
                 RAB Points 2023–2027
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 8: Other RAB
P248   7/31/24                                                                              N/A   N/A   May Use
                 Points
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 9: Cross
P249   7/31/24                                                                              N/A   N/A   May Use
                 Tabulation of Racial and Multiracial Identities
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 10: Cross
P250   7/31/24                                                                              N/A   N/A   May Use
                 Tabulation of Multiracial and Hispanic or Latino Identities
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 11: USNA
P251   7/31/24                                                                              N/A   N/A   May Use
                 Admission Offer Rate by Race and Ethnicity, 2023–2027
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 12: USNA
P252   7/31/24   Admission Offer Rate by Arcidiacono Categorization of Race and             N/A   N/A   May Use
                 Ethnicity, 2023–2027
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 13:
P253   7/31/24                                                                              N/A   N/A   May Use
                 Candidates’ Stated Adversity
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 14:
P254   7/31/24                                                                              N/A   N/A   May Use
                 Regressions
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 15: Changes in
P255   7/31/24                                                                              N/A   N/A   May Use
                 Enrollment Racial/Ethnic Breakdown for Classes of 2018-2027
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 16: Racial
P256   7/31/24                                                                              N/A   N/A   May Use
                 Breakdown of USNA Offers, 2023-2027
                 Expert Witness Rebuttal Report of Stuart Gurrea - Exhibit 17: Racial
P257   7/31/24                                                                              N/A   N/A   May Use
                 Breakdown in the U.S. and at USNA
                 Expert Witness Rebuttal Report of Stuart Gurrea - Appendix 1: Database
P258   7/31/24                                                                              N/A   N/A   May Use
                 Documentation
P259   12/1/23   Declaration of Bruce Latta. Dkt.46-2.                                      N/A   N/A   May Use
                 Declaration of Bruce Latta - Exhibit 1: "United States Naval Academy
P260   12/1/23                                                                              N/A   N/A   May Use
                 Curriculum and Admissions Policy"
                 Declaration of Bruce Latta - Exhibit 2: "Mission, Functions, and Tasks of
P261   12/1/23                                                                              N/A   N/A   May Use
                 the United States Naval Academy"
                 Declaration of Bruce Latta - Exhibit 3: "Diversity and Inclusion Strategic
P262   12/1/23                                                                              N/A   N/A   May Use
                 Plan March 2021"
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                  Declaration of Bruce Latta - Exhibit 4: "Use of 'Affirmative Action' in
P263   12/1/23                                                                               N/A   N/A   May Use
                  Admissions Decisions"
P264   12/1/23    Declaration of John V. Fuller. Dkt.46-3.                                   N/A   N/A   May Use
P265   12/1/23    Declaration of Ashish Vazirani. Dkt.46-5.                                  N/A   N/A   May Use
P266   12/1/23    Declaration of John Sherwood and appendices. Dkt.46-7.                     N/A   N/A   May Use
P267   12/1/23    Declaration of Jason Lyall. Dkt.46-9.                                      N/A   N/A   May Use
P268   12/1/23    Declaration of Jason Lyall - Appendix A: Curriculum Vitae                  N/A   N/A   May Use
P269   12/1/23    Declaration of Jason Lyall - Appendix B: Works Cited                       N/A   N/A   May Use
                  Defendants' Preliminary-Injunction Exhibit I: "Secretary of Defense
P270   12/1/23                                                                               N/A   N/A   May Use
                  Llloyd J. Austin III Prepared Remarks"
                  Defendants' Preliminary-Injunction Exhibit J: "Demographics 2010
P271   12/1/23                                                                               N/A   N/A   May Use
                  Profile of the Military Community"
                  Defendants' Preliminary-Injunction Exhibit K: "Diversity, Inclusion, and
P272   12/1/23    Equal Opportunity in the Armed Services: Background and Issues for         N/A   N/A   May Use
                  Congress"
                  Defendants' Preliminary-Injunction Exhibit L: "Department of Defense
P273   12/1/23                                                                               N/A   N/A   May Use
                  Board on Diversity and Inclusion Report"
                  Defendants' Preliminary-Injunction Exhibit M: "Immediate Actions to
P274   12/1/23                                                                               N/A   N/A   May Use
                  Counter Extremism"
                  Defendants' Preliminary-Injunction Exhibit N: "An Exploration of the
P275   12/1/23                                                                               N/A   N/A   May Use
                  Return on Investment for Diversity & Inclusion in the Military"
                  Defendants' Preliminary-Injunction Exhibit O: "‘We just feel it’: Racism
P276   12/1/23                                                                               N/A   N/A   May Use
                  plagues US military academies"
                  Defendants' Preliminary-Injunction Exhibit P: "Profile of the Military
P277   12/1/23                                                                               N/A   N/A   May Use
                  Community"
                  Defendants' Preliminary-Injunction Exhibit Q: "United States Census
P278   12/1/23                                                                               N/A   N/A   May Use
                  Bureau QuickFacts"
P279   10/6/23    Declaration of James Hasson (Vol.1). Dkt.9-6.                              N/A   N/A   May Use
P280   10/6/23    Declaration of James Hasson (Vol.2). Dkt.9-7.                              N/A   N/A   May Use
P281   12/8/23    Rebuttal Declaration of Lt. Gen. Thomas W. Spoehr (Ret.). Dkt.54-1.        N/A   N/A   May Use
P282   12/12/23   Notice of Corrected Declaration. Dkt.55.                                   N/A   N/A   May Use
P283   12/12/23   Corrected Declaration of Stephen Bruce Latta. Dkt.55-1.                    N/A   N/A   May Use
                  Defendants Objections and Responses to Plaintiff's Second Set of
P284   5/30/24                                                                               N/A   N/A   May Use
                  Interrogatories.pdf
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                  Defendants Objections and Responses to Plaintiff's First Set of
P285   2/1/24                                                                               N/A             N/A             May Use
                  Interrogatories.pdf
P286   11/18/22   Email from Arthur Primas to Bruce Latta, with attachment                  USNA-00017767   USNA-00017770   May Use
P287   3/6/24     Defendants Supplemental Interrogatory Responses.pdf                       N/A             N/A             May Use
P288   7/11/22    Class of 2026 I-Day Demographics                                          USNA-00005988   USNA-00005990   May Use
P289   4/14/22    Tab A2 Accepts 15 April 2022                                              USNA-00023521   USNA-00023521   May Use
P290   6/4/24     USG Second Supp to First Set of Interrogatories.docx.pdf                  N/A             N/A             May Use
P291   6/25/24    Defendants Second Supplemental Initial Disclosures.pdf                    N/A             N/A             May Use
P292   3/14/19    Accepts 13 MAR 2019                                                       USNA-00006698   USNA-00006698   May Use
P293   7/6/24     Defendants Supp Resp to Pls Second Set of Interrogatories.pdf             N/A             N/A             May Use
P294   7/15/24    Defs' Priv Log.pdf                                                        N/A             N/A             May Use
P295   2/14/24    Reducing Barriers to Participation in Elite Units in the Armed Services   USNA-00009551   USNA-00009551   May Use
                  30(b)(6) Deposition of Stephanie Bressler, Marisa Biondi, and Melody
P296   5/28/24                                                                              N/A             N/A             May Use
                  Hwang
                  30(b)(6) Deposition of Stephanie Bressler, Marisa Biondi, and Melody
P297   5/28/24                                                                              N/A             N/A             May Use
                  Hwang - Exhibit 1: "Notice of Deposition"
                  30(b)(6) Deposition of Stephanie Bressler, Marisa Biondi, and Melody
P298   5/28/24                                                                              N/A             N/A             May Use
                  Hwang - Exhibit 2: "Whole Person Multiple (WPM) Analysis"
                  30(b)(6) Deposition of Stephanie Bressler, Marisa Biondi, and Melody
P299   5/28/24                                                                              N/A             N/A             May Use
                  Hwang - Exhibit 3: "AR -2 Bromley 630635 (American Indian male)"
                  30(b)(6) Deposition of Stephanie Bressler, Marisa Biondi, and Melody
P300   5/28/24                                                                              N/A             N/A             May Use
                  Hwang - Exhibit 4: "Office of Admissions Dean's Meeting"
                  Deposition of Jeannette Haynie - Exhibit 5: "2022 Demographics Profile
P301   7/18/24                                                                              N/A             N/A             May Use
                  of the Military Community"
                  Deposition of Jeannette Haynie - Exhibit 4: Email from Latta to Hwang
P302   7/18/24                                                                              N/A             N/A             May Use
                  re: "USNA Applications"
                  Deposition of Jeannette Haynie - Exhibit 2: "DoD Instruction 1020.05 -
P303   7/18/24                                                                              N/A             N/A             May Use
                  DoD Diversity and Inclusion Management Program"
P304   7/18/24    Deposition of Jeannette Haynie - Exhibit 1: "Notice of Deposition"        N/A             N/A             May Use
                  Deposition of Jeannette Haynie - Exhibit 6: Office of People Analytics,
                  "An Exploration of the Return on Investment for Diversity & Inclusion
P305   7/18/24                                                                              N/A             N/A             May Use
                  in the Military Using Cluster Analysis to Identify Force-Wide Climates,
                  Correlates, and Implications"
                  Deposition of CAPT Jason Birch – Exhibit 1: Defendants' Second
P306   8/18/24                                                                              N/A             N/A             May Use
                  Supplemental Initial Disclosures
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                 Deposition of CAPT Jason Birch – Exhibit 2: "Remain Optimistic about
P307   8/18/24                                                                          N/A   N/A   May Use
                 Racial and Gender Progress"
                 Deposition of CAPT Edward Sundberg – Exhibit 1: Defendants' Second
P308   8/12/24                                                                          N/A   N/A   May Use
                 Supplemental Initial Disclosures
                 Deposition of CAPT Edward Sundberg – Exhibit 2: USNA Instruction
P309   8/12/24                                                                          N/A   N/A   May Use
                 1301.5L
                 Deposition of Bruce Latta – Exhibt 1: Email From Latta to Christie
P310   7/22/24                                                                          N/A   N/A   May Use
                 Munnelly re: "Board Actions From SR Today"
                 Deposition of Bruce Latta – Exhibt 2: Email From Melody Hwang to
P311   7/22/24                                                                          N/A   N/A   May Use
                 Christie Munnelly re: "Supe Meeting Feedback – 2 March 22"
                 Deposition of Bruce Latta – Exhibt 3: Email From Melody Hwang to
P312   7/22/24                                                                          N/A   N/A   May Use
                 Bruce Latta re:: "Offers 5/4"
                 Deposition of Bruce Latta – Exhibt 4: Selections from 2024 Board
P313   7/22/24                                                                          N/A   N/A   May Use
                 Routing
                 Deposition of Bruce Latta – Exhibt 5: Superintendent Remarks to
P314   7/22/24                                                                          N/A   N/A   May Use
                 Admissions Board Aug 2022"
P315   7/22/24   Deposition of Bruce Latta – Exhibt 6: Noms and Appts 10 April 2023     N/A   N/A   May Use
                 Deposition of Bruce Latta – Exhibt 7: Email From Melody Hwang to
P316   7/22/24                                                                          N/A   N/A   May Use
                 Latta re: "Slate Declines 5-5"
                 Deposition of Bruce Latta – Exhibt 8: "Office of Admissions Dean's
P317   7/22/24                                                                          N/A   N/A   May Use
                 Meeting"
                 Deposition of Bruce Latta – Exhibt 9: "African American Qualified No
P318   7/22/24                                                                          N/A   N/A   May Use
                 Offers"
P319   7/22/24   Deposition of Bruce Latta – Exhibt 10: "Class Comparisons"             N/A   N/A   May Use
                 Deposition of Bruce Latta – Exhibit 11: Data Produced With FQ/FQO
P320   7/22/24                                                                          N/A   N/A   May Use
                 Chart
                 Deposition of Bruce Latta – Exhibit 12: "Race Considerations Regarding
P321   7/22/24                                                                          N/A   N/A   May Use
                 Admission to the United States Naval Academy"
P322   7/22/24   Deposition of Bruce Latta – Exhibit 13: Latta Dec.                     N/A   N/A   May Use
                 Deposition of Bruce Latta – Exhibit 14: "Profile: First Generation
P323   7/22/24                                                                          N/A   N/A   May Use
                 American"
                 Deposition of Bruce Latta – Exhibit 15: "Profile – Hardship or
P324   7/22/24                                                                          N/A   N/A   May Use
                 Adversity"
                 Deposition of Bruce Latta – Exhibit 16: "Profile – Hardship or
P325   7/22/24                                                                          N/A   N/A   May Use
                 Adversity"
                         Case 1:23-cv-02699-RDB Document 108 Filed 08/29/24 Page 55 of 80

                 Deposition of Bruce Latta – Exhibit 17: "Profile: Language at Home Not
P326   7/22/24                                                                            N/A             N/A             May Use
                 English"
P327   7/22/24   Deposition of Bruce Latta – Exhibit 18: "Profile – RAB Other Reason"     N/A             N/A             May Use
                 Deposition of Bruce Latta – Exhibit 19: "Audience Selection
P328   7/22/24                                                                            N/A             N/A             May Use
                 Recommendations 2022 Campaign Cycle"
                 Deposition of Bruce Latta – Exhibit 20: Defendants' Objections and
P329   7/22/24   Second Supplemental Responses to Plaintiff's Second Set of               N/A             N/A             May Use
                 Interrogatories
                 Deposition of Bruce Latta – Exhibit 21: "Strategy Assessment and
P330   7/22/24                                                                            N/A             N/A             May Use
                 Recommendations"
P331   8/12/24   Objections and Responses to Third Set of Interrogatories.pdf             N/A             N/A             May Use
P332   3/21/19   Accepts 20 MAR 19                                                        USNA-00006634   USNA-00006634   May Use
P333   8/12/24   USG Responses to Requests for Admissions.pdf                             N/A             N/A             May Use
P334   6/8/23    "Nominations and Slate Update 7 June 2023" Document                      USNA-00002615   USNA-00002618   May Use
P335   5/2/23    "Nominations and Slate Update 2 May 2023" Document                       USNA-00002636   USNA-00002639   May Use
P336   4/5/23    "Nominations and Slate Update 4 April 2023" Document                     USNA-00002644   USNA-00002645   May Use
P337   5/10/23   "Nominations and Slate Update 10 May 2023" Document                      USNA-00002632   USNA-00002635   May Use
P338   6/21/23   "Nominations and Slate Update 20 June 2023" Document                     USNA-00002611   USNA-00002614   May Use
P339   5/24/23   "Nominations and Slate Update 18 May 2023" Document                      USNA-00002628   USNA-00002631   May Use
P340   5/24/23   "Nominations and Slate Update 23 May 2023" Document                      USNA-00002624   USNA-00002627   May Use
P341   4/17/23   "Nominations and Slate Update 17 April 2023" Document                    USNA-00002640   USNA-00002641   May Use
P342   5/24/23   "Nominations and Slate Update 31 May 2023" Document                      USNA-00002620   USNA-00002623   May Use
P343   10/5/22   "Profile RAB w/ Other Reason – as of 2022-10-05" Document                USNA-00000501   USNA-00000501   May Use
P344   10/5/22   "Profile Hardship or Adversity – as of 2022-10-05" Document              USNA-00000502   USNA-00000502   May Use
P345   10/5/22   "Profile Language at Home Not English – as of 2022-10-05" Document       USNA-00000503   USNA-00000503   May Use
P346   6/22/23   "Profile Hardship or Adversity – as of 2023-06-22" Document              USNA-00000500   USNA-00000500   May Use
P347   9/16/22   "Profile – First Generation American – as of 2022-09-16" Document        USNA-00000504   USNA-00000504   May Use
P348   6/12/23   "Profile – Hardship or Adversity – as of 2023-06-12" Document            USNA-00001228   USNA-00001228   May Use
P349   5/23/23   "Tab A - Class of 2027 5-23-23" Document                                 USNA-00000659   USNA-00000659   May Use
P350   4/3/23    "Tab A - Class of 2027 4-3-23" Document                                  USNA-00000695   USNA-00000695   May Use
P351   3/2/23    "Tab A - Class of 2027 3-1-23" Document                                  USNA-00000667   USNA-00000667   May Use
P352   2/22/24   "DOJ Slate Review Report (Updated)" Document                             USNA-00003528   USNA-00003528   May Use
P353   8/12/20   "Admissions Whole Person Multiple (WPM) Study" Document                  USNA-00000505   USNA-00000505   May Use
P354   8/4/22    "Civilian Preparatory Pool 2023 Admissions Criteria" Document            USNA-00016040   USNA-00016042   May Use
P355   8/4/22    "Foundation 2023 admissions criteria final" Document                     USNA-00016037   USNA-00016039   May Use
                         Case 1:23-cv-02699-RDB Document 108 Filed 08/29/24 Page 56 of 80


P357   9/7/22     "Admissions Board Briefing Template AY2023" Document                  USNA-00005497    USNA-00005498   May Use
                  Email with "USNA GPA and Placement Comparisons" Document
P358   9/7/22                                                                           USNA-00022249    USNA-00022250   May Use
                  attached
                  Email with "UPDATED MERGED Latta_SAT-ACT Assessment Class
P359   11/1/21                                                                          USNA-00024143    USNA-00024144   May Use
                  of 2025_DATASET" Document attached
P360   8/2/23     Email with "2026 I-Day Cohort" Excel File attached                    USNA-00019966    USNA-00019968   May Use
                  Email with "Vahsen_AY18-AY22_Attrition_DATASET" Document,
P361   2/28/23                                                                          USNA-00024520    USNA-00024529   May Use
                  other documents attached
                  "Class of 2027 Applications Begun vs Applications Completed"
P362   5/25/23                                                                          USNA-00001358    USNA-00001358   May Use
                  Document
P363   10/13/21   Email from Bradford to Latta re: "Health of the Force Info"           USNA-00025858    USNA-00025859   May Use
                  Email from Fitzgerald to Bates re: "NAVY oversight testimony," with
P364   7/14/23                                                                          USNA-00026887    USNA-00026908   May Use
                  attachment
                  Email from Hwang to Latta re: "WaitList for 2027," with "TD WL" Excel
P365   6/16/23                                                                          USNA-00018232    USNA-00018233   May Use
                  File attached
P366
P367
P368
P369   5/13/21    20210511 QA List                                                       USNA-00004588   USNA-00004588   May Use

                  Email with "USNA Strategic Plan 2030 Planning Committee Efforts"
P371   3/8/22                                                                            USNA-00027595   USNA-00027597   May Use
                  Powerpoint attached
                  Email from Cermak to Lacy re: "Advancing Equity in Higher Education"
P372   3/31/23                                                                           USNA-00028584   USNA-00028588   May Use
                  Pt. 2.
                  Email form Vahsen to Zaraane re: "MSA Hearing Room" with
P373   7/13/23                                                                           USNA-00026863   USNA-00026867   May Use
                  attachment
P374   4/13/23    Email from Latta to Hwang re: "Prep Pool" with attachment              USNA-00020664   USNA-00020665   May Use
P375   11/1/22    Email from Skarwecki to Latta re: "LOA Scrub" with attachment          USNA-00019210   USNA-00019211   May Use
P376   6/9/23     Email with "USNA Applicants v. Admitted" Document attached             USNA-00018252   USNA-00018258   May Use
P377   4/10/23    Email with "NAAA Remaining Candidates" Document attached               USNA-00020756   USNA-00020761   May Use
P378   4/11/22    Email from Latta to Hwang re: "Meeting Follow-up"                      USNA-00020380   USNA-00020381   May Use

P380   2/28/24    "2023 QA List for Ac Board" PDF                                        USNA-00015921   USNA-00015964   May Use
P381   2/28/24    "2024 QA List for Ac Board" PDF                                        USNA-00015851   USNA-00015920   May Use
                          Case 1:23-cv-02699-RDB Document 108 Filed 08/29/24 Page 57 of 80

P382   5/20/22    "2026 QA List for the Ac Board" PDF                                    USNA-00005389   USNA-00005424   May Use
P383   8/25/21    "RAB Adjustments Quick Reference" PDF                                  USNA-00000356   USNA-00000357   May Use
P384   8/25/21    "Guidance for RAB Adjustments" PDF                                     USNA-00000329   USNA-00000333   May Use
P385   2/15/24    "2027 QA List for the Ac Board" PDF                                    USNA-00003455   USNA-00003500   May Use
P386   12/20/19   AY18-19_Institutional_Effectiveness_Assessment_Report.pdf              USNA-00000527   USNA-00000547   May Use
P387   8/6/20     Whole Person Multiple Review.docx                                      USNA-00000631   USNA-00000631   May Use
P388   2/28/24    QA List for Ac Board (2025).pdf                                        USNA-00015839   USNA-00015845   May Use

P390   5/24/24    Copy of Whole Person Multiple (WPM) Analysis.pdf                       USNA-00029695   USNA-00029708   May Use
P391   9/7/22     Email from Latta to Munnelly re: "briefing sheet" with attachment      USNA-00019434   USNA-00019437   May Use

P393   7/14/23    Email from Zaraane to Vahsen re: "Hearing Room Confirmed"              USNA-00026838   USNA-00026841   May Use
                  Email with 2022 USNA Letter to POTUS - Draft 20230214 - SV.docx
P394   2/16/23                                                                           USNA-00019609   USNA-00019615   May Use
                  attached
P395   12/7/23    Email with Academic Curriculum.docx, brigade diversity docs attached   USNA-00024683   USNA-00024726   May Use

P397   4/29/19    Nominations and Appointments Update April 19, 2019                     USNA-00002790   USNA-00002792   May Use
P398   5/7/19     Nominations and Appointments Update May 7, 2019                        USNA-00002785   USNA-00002786   May Use
P399   5/13/19    Nominations and Appointments Update May 13, 2019                       USNA-00002783   USNA-00002784   May Use
P400   5/23/19    Nominations and Appointments Update May 23, 2019                       USNA-00002781   USNA-00002781   May Use
P401   6/11/19    Nominations and Appointments Update June 11, 2019                      USNA-00002779   USNA-00002779   May Use
P402   6/17/19    Nominations and Appointments Update June 17, 2019                      USNA-00002778   USNA-00002778   May Use
P403   4/6/20     Nominations and Appointments Update April 6, 2020                      USNA-00002771   USNA-00002773   May Use
P404   4/14/20    Nominations and Appointments Update April 14, 2020                     USNA-00002769   USNA-00002770   May Use
P405   4/28/20    Nominations and Appointments Update April 28, 2020                     USNA-00002767   USNA-00002768   May Use
P406   5/5/20     Nominations and Appointments Update May 5, 2020                        USNA-00002765   USNA-00002766   May Use
P407   5/13/20    Nominations and Appointments Update May 13, 2020                       USNA-00002761   USNA-00002762   May Use
P408   5/19/20    Nominations and Appointments Update May 19, 2020                       USNA-00002760   USNA-00002760   May Use
P409   6/1/20     Nominations and Appointments Update June 1, 2020                       USNA-00002758   USNA-00002758   May Use
P410   6/9/20     Nominations and Appointments Update June 9, 2020                       USNA-00002757   USNA-00002757   May Use
P411   6/15/20    Nominations and Appointments Update June 15, 2020                      USNA-00002755   USNA-00002756   May Use
P412   6/24/20    Nominations and Appointments Update June 22, 2020                      USNA-00002753   USNA-00002754   May Use
P413   4/21/21    Nominations and Appointments Update April 20, 2021                     USNA-00002748   USNA-00002749   May Use
P414   9/24/15    DoDI 1322.22                                                           USNA-00000160   USNA-00000188   May Use
P415   4/26/21    Nominations and Appointments Update April 26, 2021                     USNA-00002746   USNA-00002747   May Use
                         Case 1:23-cv-02699-RDB Document 108 Filed 08/29/24 Page 58 of 80

P416   5/3/21    Nominations and Appointments Update May 3, 2021                   USNA-00002743   USNA-00002745   May Use
P417   5/11/21   Nominations and Appointments Update May 11, 2021                  USNA-00002740   USNA-00002742   May Use
P418   5/17/21   Nominations and Appointments Update May 17, 2021                  USNA-00002737   USNA-00002739   May Use
P419   5/24/21   Nominations and Appointments Update May 24, 2021                  USNA-00002734   USNA-00002736   May Use
P420   6/1/21    Nominations and Appointments Update June 1, 2021                  USNA-00002731   USNA-00002733   May Use
P421   6/8/21    Nominations and Appointments Update June 8, 2021                  USNA-00002728   USNA-00002730   May Use
P422   6/14/21   Nominations and Appointments Update June 14, 2021                 USNA-00002725   USNA-00002727   May Use
P423   4/13/22   Nominations and Appointments Update April 13, 2022                USNA-00002682   USNA-00002684   May Use
P424   4/21/22   Nominations and Appointments Update April 21, 2022                USNA-00002673   USNA-00002675   May Use
P425   4/25/22   Nominations and Appointments Update April 25, 2022                USNA-00002676   USNA-00002678   May Use
P426   5/10/22   Nominations and Appointments Update May 10, 2022                  USNA-00002669   USNA-00002672   May Use
P427   5/23/22   Nominations and Appointments Update May 23, 2022                  USNA-00002666   USNA-00002668   May Use
P428   6/1/22    Nominations and Appointments Update June 1, 2022                  USNA-00002662   USNA-00002665   May Use
P429   6/6/22    Nominations and Appointments Update June 6, 2022                  USNA-00002658   USNA-00002661   May Use
P430   6/10/22   Nominations and Appointments Update June 10, 2022                 USNA-00002654   USNA-00002657   May Use
P431   6/27/22   Nominations and Appointments Update June 27, 2022                 USNA-00002651   USNA-00002652   May Use


                 Email with DoD DEI Strategic Plan 2022-23 attached
P434   10/3/22                                                                     USNA-00019290                   May Use
                                                                                                   USNA-00019329
P435   4/14/23   Email with Prep Wait List (2023-04-13) attached                   USNA-00020707   USNA-00020709   May Use
P436   5/5/20    HIC Class of 2024 (May 5, 2020)                                   USNA-00032521   USNA-00032528   May Use
P437   4/17/24   2018 Class Portrait                                               USNA-00032517   USNA-00032520   May Use
P438   4/17/24   2019 Class Portrait                                               USNA-00032513   USNA-00032516   May Use
P439   8/30/16   2020 Class Portrait                                               USNA-00032509   USNA-00032512   May Use
P440   10/4/17   2021 Class Portrait                                               USNA-00032505   USNA-00032508   May Use
P441   4/22/24   2022 Class Portrait                                               USNA-00032504   USNA-00032504   May Use
P442   5/13/22   Slate Declines 5-13                                               USNA-00032759   USNA-00032759   May Use
P443   5/12/23   Email from Anne to Latta re: "Affirmative Action"                 USNA-00031798   USNA-00031799   May Use
P444   5/10/23   ODEI_2022_DoD Officer Retention and Promotion Barrier Analysis    USNA-00032081   USNA-00032128   May Use
P445   2/14/24   MLDC Report                                                       USNA-00011605   USNA-00011766   May Use
                 The Air Force and Diversity The Awkward Embrace (COL. Streeter,
P446   2/13/24                                                                     USNA-00009350   USNA-00009378   May Use
                 Suzanne M.).pdf

P448   11/7/21   Diversity Brief COI 2021 Presentation.pptx                        USNA-00028601   USNA-00028602   May Use
                         Case 1:23-cv-02699-RDB Document 108 Filed 08/29/24 Page 59 of 80

P449   2/14/24    Ethnic diversity deflates price bubbles (Levine, Sheen S., et al.).pdf USNA-00012497    USNA-00012502      May Use
                  "Does the Navy’s New Emphasis on ‘Diversity’ Put the Nation At Risk?"
P450   2/11/24                                                                           SFFA-USNA-000037                    May Use
                  Article                                                                                 SFFA-USNA-000051
                  NPS_Diversity_Categories-rev.4.1-titles only.pdf
P451   2/6/24                                                                            USNA-00031716                       May Use
                                                                                                          USNA-00031765
P452   5/24/24    NPS study projects since FY14 start                                    USNA-00031766    USNA-00031766      May Use
P453   5/21/24    NPS study projects since FY14 start (004).xlsx                         USNA-00031767    USNA-00031767      May Use
P454   5/24/24    Docs for DEI RFI.docx                                                  USNA-00031768    USNA-00031772      May Use
P455   3/24/20    Tab E HICS Class of 2024 25 Mar 20                                     USNA-00032682    USNA-00032688      May Use
P456   6/9/20     TAB D1 HICs Class of 2024.docx                                         USNA-00032695    USNA-00032705      May Use
P457   6/4/19     HIC2023.docx                                                           USNA-00032837    USNA-00032848      May Use
P458   12/2/22    Tab E HICS Class of 2027 29 Nov 22.docx                                USNA-00032860    USNA-00032863      May Use
P459   11/17/23   OPNAVINST 5450.330B.pdf                                                USNA-00000233    USNA-00000242      May Use
P460   10/18/19   Roster For The Dean OCT CVW (3).xlsx                                   USNA-00006337    USNA-00006337      May Use
P461   8/14/22    Email with Admissions.docx attached                                    USNA-00025966    USNA-00026013      May Use

                  SFFA Articles of Incorporation
P463   8/9/24                                                                          SFFA-USNA-000286 SFFA-USNA-000291     May Use
                  Rule 1006 Summary 1: Number of Cases Where Candidate With Highest
P464   8/14/24                                                                        N/A               N/A                  Will Use
                  WPM on Slate Was Routed to QA or AA Slot
                  Rule 1006 Summary 2: Class Comparison Reviews During the 2021-22
P465   8/14/24                                                                        N/A               N/A                  Will Use
                  Admissions Cycle
                  Rule 1006 Summary 3: NASS Attendees Offerred Admission to USNA or
P466   8/14/24                                                                        N/A               N/A                  Will Use
                  NAPS – By Race
                  Rule 1006 Summary 4 – Candidates With NQ Status Overruled – By Race
P467   8/14/24                                                                        N/A               N/A                  Will Use
P468   8/14/24    Rule 1006 Summary 5 – Medical Waivers – By Race                      N/A              N/A                  Will Use
                  Rule 1006 Summary 6: Admissions Rates for Candidates Listed on "No
P469   8/14/24                                                                         N/A              N/A                  Will Use
                  Offer" Reports
                  Rule 1006 Summary 7: Average WPM Score for Admits – By Race and
P470   8/14/24                                                                         N/A              N/A                  Will Use
                  Ethnicity
P471   12/1/23    Defendants' preliminary-injunction opposition brief. See Dkt. 46.    N/A              N/A                  May Use
P472   7/30/24    Deposition of Steve Vahsen – Exhibit 1                               N/A              N/A                  Will Use
P473   7/30/24    Deposition of Steve Vahsen – Exhibit 2                               N/A              N/A                  May Use
P474   7/30/24    Deposition of Steve Vahsen – Exhibit 3                               N/A              N/A                  May Use
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P475   7/30/24   Deposition of Steve Vahsen – Exhibit 4                N/A            N/A   May Use
P476   7/30/24   Deposition of Steve Vahsen – Exhibit 5                N/A            N/A   May Use
P477   7/30/24   Deposition of Steve Vahsen – Exhibit 6                N/A            N/A   May Use
P478   7/30/24   Deposition of Steve Vahsen – Exhibit 7                N/A            N/A   May Use
P479   7/30/24   Deposition of Steve Vahsen – Exhibit 8                N/A            N/A   May Use
P480   7/30/24   Deposition of Steve Vahsen – Exhibit 9                N/A            N/A   May Use
P481   7/30/24   Deposition of Steve Vahsen – Exhibit 10               N/A            N/A   May Use
P482   7/30/24   Deposition of Steve Vahsen – Exhibit 11               N/A            N/A   May Use
P483   7/30/24   Deposition of Steve Vahsen – Exhibit 12               N/A            N/A   May Use
P484   7/30/24   Deposition of Steve Vahsen – Exhibit 13               N/A            N/A   May Use
P485   7/30/24   Deposition of Steve Vahsen – Exhibit 14               N/A            N/A   May Use
P486   7/30/24   Deposition of Steve Vahsen – Exhibit 15               N/A            N/A   May Use
P487   7/30/24   Deposition of Steve Vahsen – Exhibit 16               N/A            N/A   May Use
P488   7/30/24   Deposition of Steve Vahsen – Exhibit 17               N/A            N/A   May Use
P489   7/30/24   Deposition of Steve Vahsen – Exhibit 18               N/A            N/A   May Use
P490   7/30/24   Deposition of Steve Vahsen – Exhibit 19               N/A            N/A   May Use
P491   8/9/24    Deposition of Melody Hwang – Exhibit 1                N/A            N/A   May Use
P492   8/9/24    Deposition of Melody Hwang – Exhibit 2                N/A            N/A   May Use
P493   8/9/24    Deposition of Melody Hwang – Exhibit 3                N/A            N/A   May Use
P494   8/9/24    Deposition of Melody Hwang – Exhibit 4                N/A            N/A   May Use
P495   8/9/24    Deposition of Melody Hwang – Exhibit 5                N/A            N/A   May Use
P496   8/9/24    Deposition of Melody Hwang – Exhibit 6                N/A            N/A   May Use
P497   8/9/24    Deposition of Melody Hwang – Exhibit 7                N/A            N/A   May Use
P498   8/9/24    Deposition of Melody Hwang – Exhibit 8                N/A            N/A   May Use
P499   8/9/24    Deposition of Melody Hwang – Exhibit 9                N/A            N/A   May Use
P500   8/9/24    Deposition of Melody Hwang – Exhibit 10               N/A            N/A   May Use
P501   8/6/24    Deposition of Vice Admiral John Fuller – Exhibit 1    N/A            N/A   May Use
P502   8/6/24    Deposition of Vice Admiral John Fuller – Exhibit 2    N/A            N/A   May Use
P503   8/6/24    Deposition of Vice Admiral John Fuller – Exhibit 3    N/A            N/A   May Use
P504   8/6/24    Deposition of Vice Admiral John Fuller – Exhibit 4    N/A            N/A   May Use
P505   8/8/24    Deposition of Lisa Truesdale – Exhibit 1              N/A            N/A   May Use
P506   8/8/24    Deposition of Lisa Truesdale – Exhibit 2              N/A            N/A   May Use
P507   8/8/24    Deposition of Lisa Truesdale – Exhibit 3              N/A            N/A   May Use
P508   8/8/24    Deposition of Lisa Truesdale – Exhibit 4              N/A            N/A   May Use
                        Case 1:23-cv-02699-RDB Document 108 Filed 08/29/24 Page 61 of 80

P509   8/1/24    Deposition of Katherine Batterton – Exhibit 1                        N/A             N/A             May Use
P510   8/1/24    Deposition of Katherine Batterton – Exhibit 2                        N/A             N/A             May Use
P511   7/20/24   Deposition of Master Chief Anna Wood – Exhibit 1                     N/A             N/A             May Use
P512   7/20/24   Deposition of Master Chief Anna Wood – Exhibit 2                     N/A             N/A             May Use
P513   7/20/24   Deposition of Master Chief Anna Wood – Exhibit 3                     N/A             N/A             May Use
P514   7/20/24   Deposition of Master Chief Anna Wood – Exhibit 4                     N/A             N/A             May Use
                 Email from Melody Hwang to herself with attachment "use Slate Review
P515   2/1/23                                                                         USNA-00017072   USNA-00017073   May Use
                 2023-02-01"
                 Email from Melody Hwang to Katherine McAllister, with attachment
P516   9/7/22                                                                         USNA-00017206   USNA-00017207   May Use
                 "Slate Review-2022-09-07"
P517   8/14/24   Amended Expert Report of Christopher S. Walker                       N/A             N/A             May Use
P518   8/7/24    Supplemental Expert Report of Peter Arcidiacono                      N/A             N/A             May Use
P519   1/24/24   Class of 2023 Portrait                                               USNA-00004382   USNA-00004385   May Use
P520   8/19/23   Class of 2027 Profile                                                USNA-00004386   USNA-00004386   May Use
P521   1/24/24   Class of 2025 Portrait                                               USNA-00004387   USNA-00004389   May Use
P522   1/24/24   Class of 2024 Portrait                                               USNA-00004390   USNA-00004393   May Use
P523   1/24/24   Class of 2026 Portrait                                               USNA-00004394   USNA-00004397   May Use
P524   1/16/24   "Maintain Candidate Evaluation Summary"                              USNA-00003776   USNA-00003792   May Use
P525   6/29/19   Superintendent's Admissions Guidance for Class of 2024               USNA-00003822   USNA-00003825   May Use
P526   6/6/07    CNA Report "Emerging Issues in USMC Recruiting"                      USNA-00004205   USNA-00004250   May Use
P527   4/4/23    "Principals" excel file                                              USNA-00005572   USNA-00005572   May Use
P528   3/5/22    Attrition Excel File                                                 USNA-00005890   USNA-00005890   May Use
P529   8/26/21   Admissions Board Training 2021 SupeDean Guidance                     USNA-00005906   USNA-00005940   May Use
P530   2/23/22   Email from Daniel Schmerber to Melody Hwang                          USNA-00016863   USNA-00016863   May Use
                 Email From Lauren Zaccheo to Dean Latta with attachments Admissions
P531   1/10/24   Medical Powerpoint, CGO – Admissions Training Aug 2023 –             USNA-00018807   USNA-00018907   May Use
                 PrepSchool, other attachments
                 Email from Dean Latta to James Bates with attachment "SASC PSMs Feb
P532   2/22/22                                                                        USNA-00021402   USNA-00021402   May Use
                 22"
P533   4/15/22   Email from Melody Hwang to Dean Latta re Board 14 Apr 22             USNA-00020353   USNA-00020353   May Use
P534   3/3/22    HICS Class of 2026 30 MAR 22                                         USNA-00032974   USNA-00032979   May Use
P535   4/14/22   Email from Christie Munnelly to Dean Latta regarding board actions   USNA-00020354   USNA-00020354   May Use
                 Nikki Graf, "Most Americans Say Colleges Should Not Consider Race or
P536   2/25/19   Ethnicity in Admissions," Pew Research Center (Kahlenberg Rebuttal   N/A             N/A             May Use
                 Report n.25)
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P537   4/26/22    scores seen as top factors in college admissions," Pew Research Center   N/A             N/A             May Use
                  (Kahlenberg Rebuttal Report n.25)
                  Charles Lane, "U-Michigan Gets Broad Support on Using Race,"
P538   2/11/23                                                                             N/A             N/A             May Use
                  Washington Post, (Kahlenberg Rebuttal Report n.26)
                  Robert P. Jones, et al., "Anxiety, Nostalgia and Mistrust: Findings from
P539   11/17/15   the 2015 American Values Survey," Public Religion Research Institute     N/A             N/A             May Use
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P540   1997                                                                                N/A             N/A             May Use
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P541   1993       Paul M. Sniderman & Thomas Leonard Piazza, "The Scar of Race," HarvardN/A                N/A             May Use
                  Brief for Veterans for Fairness and Merit as Amicus Curiae Supporting
P542   5/9/22                                                                              N/A             N/A             May Use
                  Petitioner, Students for Fair Admissions v. Harvard
P543   7/11/23    Master Charging Report 2027                                              USNA-00015846   USNA-00015846   May Use
P544   7/25/22    Master Charging Report 2026                                              USNA-00015847   USNA-00015847   May Use
P545   7/25/22    Master Charging Report 2025                                              USNA-00015848   USNA-00015848   May Use
P546   3/22/24    Master Charging Report 2024                                              USNA-00015849   USNA-00015849   May Use
P547   3/22/24    Master Charging Report 2023                                              USNA-00015850   USNA-00015850   May Use
P548   2/12/24    HEDA Individual Slates 2024-02-12                                        USNA-00004856   USNA-00004856   May Use
                  Military Diversity in Multinational Defence: Environments From Ethnic
P549   4/24/23                                                                             USNA-00010111   USNA-00010296   May Use
                  Intolerance to Inclusion
P550   6/7/22     20220607 Dean_s Brief.pptx                                               USNA-00004999   USNA-00004999   May Use
P551   5/24/22    20220524 Dean_s Brief.pptx                                               USNA-00005000   USNA-00005000   May Use
P552   5/17/22    20220517 Dean_s Brief.pptx                                               USNA-00005001   USNA-00005001   May Use
P553   5/5/22     20220503 Dean_s Brief.pptx                                               USNA-00005002   USNA-00005002   May Use
P554   4/26/22    20220426 Dean_s Brief.pptx                                               USNA-00005003   USNA-00005003   May Use
P555   4/19/22    20220419 Dean_s Brief.pptx                                               USNA-00005004   USNA-00005004   May Use
P556   3/29/22    20220329 Dean_s Brief.pptx                                               USNA-00005005   USNA-00005005   May Use
P557   3/22/22    20220322 Dean_s Brief.pptx                                               USNA-00005006   USNA-00005006   May Use
P558   3/15/22    20220315 Dean_s Brief.pptx                                               USNA-00005007   USNA-00005007   May Use
P559   2/1/22     20220201 Dean_s Brief.pptx                                               USNA-00005011   USNA-00005011   May Use
P560   1/25/22    20220125 Dean_s Brief.pptx                                               USNA-00005012   USNA-00005012   May Use
P561   1/18/22    20220118 Dean_s Brief.pptx                                               USNA-00005013   USNA-00005013   May Use
P562   1/4/22     20220104 Dean_s Brief.pptx                                               USNA-00005014   USNA-00005014   May Use
P563   12/21/21   20211221 Dean_s Brief.pptx                                               USNA-00005015   USNA-00005015   May Use
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P564   12/14/21   20211214 Dean_s Brief.pptx                            USNA-00005016   USNA-00005016   May Use
P565   11/30/21   20211130 Dean_s Brief.pptx                            USNA-00005017   USNA-00005017   May Use
P566   11/23/21   20211123 Dean_s Brief.pptx                            USNA-00005018   USNA-00005018   May Use
P567   11/17/21   20211117 Dean_s Brief.pptx                            USNA-00005019   USNA-00005019   May Use
P568   11/10/21   20210303 Dean_s Brief.pptx                            USNA-00005020   USNA-00005020   May Use
P569   10/26/21   20211026 Dean_s Brief.pptx                            USNA-00005021   USNA-00005021   May Use
P570   10/19/21   20211019 Dean_s Brief.pptx                            USNA-00005022   USNA-00005022   May Use
P571   9/28/21    20210928 Dean_s Brief.pptx                            USNA-00005024   USNA-00005024   May Use
P572   9/14/21    20210914 Dean_s Brief.pptx                            USNA-00005026   USNA-00005026   May Use
P573   9/1/21     20210901 Dean_s Brief.pptx                            USNA-00005027   USNA-00005027   May Use
P574   8/17/21    20210817 Dean_s Brief.pptx                            USNA-00005028   USNA-00005028   May Use
P575   8/10/21    20210810 Dean_s Brief.pptx                            USNA-00005029   USNA-00005029   May Use
P576   7/27/21    20210727 Dean_s Brief.pptx                            USNA-00005030   USNA-00005030   May Use
P577   3/4/24     DOJ Applications (2023)                               USNA-00005465   USNA-00005465   May Use
P578   3/4/24     General Information 1a (2023)                         USNA-00003546   USNA-00003546   May Use
P579   3/4/24     General Information 1a (2024)                         USNA-00003534   USNA-00003534   May Use
P580   3/4/24     DOJ Applications (2024)                               USNA-00005464   USNA-00005464   May Use
P581   1/28/22    Asian and Other Qualified No Offers 2022-01-28        USNA-00006031   USNA-00006031   May Use
P582   1/28/22    Hispanic or Latino Qualified No Offers 2022-01-28     USNA-00006024   USNA-00006024   May Use
P583   1/28/22    African American Qualified No Offers 2022-01-28       USNA-00006037   USNA-00006037   May Use
P584   3/10/21    Asian and Other Qualified No Offers 2021-03-08-       USNA-00004604   USNA-00004604   May Use
P585   3/10/21    Hispanic or Latino Qualified No Offers 2021--03-08-   USNA-00004605   USNA-00004605   May Use
P586   3/10/21    African American Qualified No Offers 2021--03-08-     USNA-00004606   USNA-00004606   May Use
P587   3/11/22    African American Qualified No Offers 2022--03-11-     USNA-00006066   USNA-00006066   May Use
P588   1/14/22    African American Qualified No Offers 2022--01-14      USNA-00006038   USNA-00006038   May Use
P589   2/6/22     African American Qualified No Offers 2022--02-06      USNA-00006036   USNA-00006036   May Use
P590   3/4/24     General Information (2025)                            USNA-00003564   USNA-00003564   May Use
P591   3/4/24     General Information (2026)                            USNA-00003563   USNA-00003563   May Use
P592   3/4/24     General Information (2027)                            USNA-00003562   USNA-00003562   May Use
P593   3/4/24     DOJ Applications (2027)                               USNA-00005461   USNA-00005461   May Use
P594   3/4/24     DOJ Applications (2026)                               USNA-00005462   USNA-00005462   May Use
P595   3/4/24     DOJ Applications (2025)                               USNA-00005463   USNA-00005463   May Use
P596
P597   8/24/22    Leveraging Diversity for Military Effectiveness       USNA-00033374   USNA-00033471   May Use
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P598   5/22/18    Leveraging Diversity for Global Leadership                              USNA-00033672   USNA-00033701   May Use
P599   11/4/16    Why Diverse Teams Are Smarter                                           USNA-00033707   USNA-00033712   May Use
                  Task Force One Navy: Our Navy Team – Navigating A Course to True
P600   8/11/24                                                                            N/A             N/A             May Use
                  North
P601   7/26/17    Marine Corps Operations                                                 USNA-00010305   USNA-00010583   May Use
P602   8/10/20    Marine Corps Planning Process                                           USNA-00010584   USNA-00010788   May Use
P603   4/24/20    Naval Doctrine Publication 1, Naval Warfare                             USNA-00009854   USNA-00009941   May Use
P604   5/4/22     Force Design 2030 (USMC)                                                USNA-00011585   USNA-00011603   May Use
P605   1/11/22    Defense Organizational Climate Survey Redesign                          USNA-00031112   USNA-00031715   May Use
P606   7/12/17    JP1: Doctrine for the Armed Forces of the United States                 USNA-00010826   USNA-00010999   May Use
P607   12/15/20   Blue Star Equity Series, Spotlight on Military Families                 USNA-00009731   USNA-00009733   May Use
P608   6/15/21    USNA Waitlist 6-15-21                                                   USNA-00004585   USNA-00004585   May Use
P609   2/12/24    2025 USNA Wait List (11)                                                USNA-00004855   USNA-00004855   May Use
                  DOJ_USNA Class Years 2014-2024_Service Assignment by Race-Ethnic
P610   6/14/24                                                                            USNA-00030476   USNA-00030486   May Use
                  Group by Class Year
P611   4/4/23     "Asian and Other Qualified No Offers-2023-04-04-21-10-18" Excel File USNA-00005570      USNA-00005570   May Use
                  "Hispanic or Latino Qualified No Offers-2023-04-04-21-07-27" Excel file
P612   4/4/23                                                                             USNA-00005569   USNA-00005569   May Use
                  "African American Qualified No Offers-2023-04-04-21-04-22" Excel File
P613   4/4/23                                                                             USNA-00005571   USNA-00005571   May Use
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